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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

RICHMOND DIVISION
)
GLORIA PERSONHUBALLAH,, et al, )
)
Plaintiffs, )
)
Vv. )
)
JAMES B. ALCORN, et al., ) Civil Action No. 3:13-cv-678-REP-LO-AKD
)
Defendants. )
)
)
)
)
)

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF FOURTH SUPPLEMENTAL
MOTION FOR ATTORNEYS’ FEES

The Court’s order striking down Virginia’s 2012 congressional redistricting plan has
now been definitively affirmed by the United States Supreme Court, which rejected
unanimously Intervenor-Defendants’ second appeal in this long-pending matter.
Accordingly, Plaintiffs are, and remain, the prevailing parties in this litigation. As such,
Plaintiffs respectfully move this Court to:

(1) reinstate the fee award previously granted in this case on March 11, 2015. Dkt.
Entry No. 139;

(2) grant a supplemental award of attorneys’ fees pursuant to 42 U.S.C. § 1988, 52
U.S.C. § 10310(e) (formerly codified as 42 U.S.C. § 1973l(e)), and Fed. R. Civ. P. 54 against
Intervenor-Defendants as well as Defendants for work performed before this Court related to
the remand of this matter, as set out in Plaintiffs’ reply in support of their third supplemental

fee petition (the “Third Fee Motion’), Dkt. Entry No. 176; and

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(3) grant a supplemental award of attorneys’ fees against Intervenor-Defendants as
well as Defendants for work performed during (a) the remedial phase of this litigation before
the Court and (b) Intervenor-Defendants’ second appeal to the United States Supreme Court!

Plaintiffs previously set forth much of the relevant background and argument in their
Memorandum in Support of Motion for Attorneys’ Fees, Expert Fees, and Costs (filed after
the Court’s first opinion in Plaintiffs’ favor), Dkt. Entry No. 112, and in their Memorandum
in Support of their Third Fee Motion, (filed after the Court’s second opinion in Plaintiffs’
favor), Dkt. Entry No. 176. This memorandum summarizes the events that transpired during
the remedial phase of the litigation and Intervenor-Defendants’ second appeal and requests
further relief for Plaintiffs’ work on these phases of the case. Because the Court adopted a
remedial plan that redresses the unconstitutional racial gerrymander of Congressional District
(“CD”) 3 and the Supreme Court affirmed the Court’s ruling on the merits, Plaintiffs submit
that they are the prevailing parties and respectfully request that the Court grant their
reasonable attorneys’ fees related to litigating this case since July 2015.

Plaintiffs’ counsel dedicated a reasonable amount of time and resources to prevailing
in this matter during the remedial phase of the lawsuit and on appeal. Counsel litigated
efficiently in light of the case’s complexity. They seek fees at rates consistent with the
prevailing market rates for similar services by attorneys of comparable skill, experience,
expertise, and reputation. And they exercised reasonable billing judgment as recorded in
their detailed, accurate, and contemporaneous billing records submitted with this application.

Specifically, Plaintiffs seek (1) reinstatement of the Court’s prior award of fees in the
amount of $691,337.40, expert fees in the amount of $49,448.79, and costs in the amount of
$38,403.20; (2) fees for their work on remand from Intervenor-Defendants’ first appeal in the

amount of $73,540.50; and (3) fees incurred during the remedial phase and on Intervenor-

 

' In the Reply in Support of this Motion, Plaintiffs will provide a supplemental declaration and
accounting for fees incurred from June 10, 2016 onward, which will consist of entries related to Plaintiffs’ “fees
on fees.”

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Defendants’ second appeal in the amount of $618,201.00 and litigation expenses in the
amount of $19,316.75.
I, RELEVANT PROCEDURAL BACKGROUND

As the Court is aware, Plaintiffs sought declaratory and injunctive relief under § 1983
for the Defendants’ violation of the U.S. Constitution. After a bench trial, on October 7,
2014, the Court found in Plaintiffs’ favor on the merits. Dkt. Entry Nos. 109, 110.
Accordingly, the Court ordered that the “Commonwealth of Virginia is hereby enjoined from
conducting any elections subsequent to 2014 for the office of United States Representative
until a new redistricting plan is adopted” and that the Virginia General Assembly must act to
“remedy the constitutional violations found in this case.” Dkt. Entry No. 110. The
Intervenor-Defendants appealed to the Supreme Court on October 31, 2014. Dkt. Entry No.
123. Only Intervenor-Defendants chose to do so. Defendants did not appeal.

Following this Court’s judgment, on October 20, 2014, Plaintiffs timely moved for
attorneys’ fees and reasonable litigation expenses. Dkt. Entry No. 112. On March 11, 2015,
while the appeal was pending, the Court granted Plaintiffs attorneys’ fees in the amount of
$691,337.40, expert fees in the amount of $49,448.79, and other costs in the amount of
$38,403.20. Dkt. Entry No. 139 at 28.

On March 30, 2015, the Supreme Court vacated the judgment and remanded the case
to this Court for further consideration in light of Alabama Legislative Black Caucus v.
Alabama, 135 §S. Ct. 1257 (2015) (“Alabama”). Dkt. Entry No. 150. The Supreme Court’s
order was silent as to the award of attorneys’ fees. Pursuant to this Court’s order, Dkt. Entry
No. 144, the parties, including Intervenor-Defendants, briefed the issue of what effect, if any,
Alabama had on the case. Dkt. Entry Nos. 145, 148, 151, 153, 154.

The Court again awarded Plaintiffs the relief they sought in its Memorandum Opinion
and Order of June 5, 2015, Dkt. Entry Nos. 170, 171, ordering that the “Commonwealth of

Virginia is hereby enjoined from conducting any elections for the office of United States

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Representative until a new redistricting plan is adopted” and that “the matter of providing a
redistricting plan to remedy the constitutional violations found in this case is referred to the
Virginia General Assembly[,]” Dkt. Entry No. 171.

On June 19, 2015, Plaintiffs filed their Third Fee Motion, seeking fees related to their
work on remand from the first appeal leading up to the Court’s reaffirmation of its original
Opinion. Dkt. Entry No. 175. Plaintiffs ultimately requested a supplemental fee award of
$73,540.50. See Dkt. Entry No. 184 at 3; see also Dkt. Entry No. 186-1 (table reflecting total
fee request broken down by timekeeper).

Meanwhile, on June 18, 2015, Intervenor-Defendants filed a notice of appeal.
Dkt. Entry No. 172. On July 29, 2015, the Court, accordingly, deferred consideration of
Plaintiffs’ Third Fee Motion pending resolution of Intervenor-Defendants’ appeal.
Dkt. Entry No. 198.

Thereafter, this case proceeded on two tracks. The Court conducted remedial
proceedings and adopted a remedial congressional districting plan to implement its Opinion
striking down CD 3. This required substantial and complex work over a period of many
months. See, e.g., generally Dkt. Entry Nos. 204-299. During the remedial phase, after the
Court adopted the governing procedures and selected a Special Master, Plaintiffs developed
and submitted a remedial plan. See Dkt. Entry No. 229. Plaintiffs also analyzed and
prepared objections to the nine remedial plans submitted by Intervenor-Defendants and non-
parties. See generally Dkt. Entry No. 250. Plaintiffs then submitted multiple rounds of
briefing on the Special Master’s two alternative redistricting proposals, see Dkt Entry Nos.
277, 286, 298. Plaintiffs concurred that either of the Special Master’s proposals constituted
an appropriate remedy, expressing their view that “Congressional Plan 16 is the superior
plan.” Dkt. Entry No. 277 at 5. Intervenor-Defendants, by contrast, objected to both plans

vociferously, Dkt. Entry Nos. 279, 289, which led the Special Master to release two

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supplements to his report to respond to Intervenor-Defendants’ mischaracterizations of his
methodological approach, see Dkt. Entry Nos. 294, 298.

In addition to the work above, Plaintiffs prepared for and attended a December 14,
2015, hearing before the Court on the Special Master’s proposals and Intervenor-Defendants’
motion to stay implementation of a remedy pending resolution of their appeal. The Court
adopted Congressional Plan 16. See Dkt. Entry No. 299 at 3. After both the Court and
Supreme Court rejected Intervenor-Defendants’ requests to stay the remedial proceedings
pending the resolution of their appeal, Plaintiffs also briefed and argued successfully
Intervenor-Defendants’ appeal to the Supreme Court. On appeal, Plaintiffs argued that
Intervenors lacked standing (and that their claims failed on the merits). Defendants conceded
Plaintiffs’ victory on the merits given the standard of review, but argued that Intervenor-
Defendants had standing.

On May 23, 2016, the Supreme Court unanimously affirmed the Court’s June 5, 2016
order, agreeing with Plaintiffs that Intervenors did not have standing to pursue the appeal.
See Dkt. Entry No. 315-1. On June 24, 2016, the Supreme Court issued a mandate entering
judgment in this matter. See Dkt. Entry No. 315.

I. ARGUMENT

A. The Original Fee Award Should Be Reinstated

As set forth above, Plaintiffs prevailed following a bench trial, Dkt. Entry Nos. 109,
110, and the Court accordingly awarded attorneys’ fees, expert fees, and costs, Dkt. Entry
No. 139 at 28. Neither Defendants nor Intervenor-Defendants have appealed or otherwise
objected to this award of fees and costs. Although it seems apparent that this award remains
undisturbed by the subsequent orders of this Court and the Supreme Court, Plaintiffs
respectfully submit that the Court should formally reaffirm and/or reenter that award to

remove any doubt or question on the issue.

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B. Plaintiffs Are Prevailing Parties and Entitled to a Supplemental Award of
Attorneys’ Fees for Work Following the Court’s Initial Award of Fees
and Litigation Expenses

Plaintiffs brought this action under 42 U.S.C. § 1983, and prevailing parties in such

actions “should ordinarily recover an attorney’s fee unless special circumstances would
render such an award unjust.” Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (citation
omitted). Civil rights plaintiffs are prevailing parties “if they succeed on any significant
issue in litigation which achieves some of the benefit the parties sought in bringing the suit.”
Texas State Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 789 (1989); see Bly v.
McLeod, 605 F.2d 134, 137 (4th Cir. 1979) (“It is settled that in order to be a prevailing party
one need not win on every issue in the case.”). A plaintiff need only “point to a resolution of
the dispute which changes the legal relationship between itself and the defendant.” Jd. at
792. “And [the Supreme Court] ha[s] repeatedly held that an injunction or declaratory
judgment, like a damages award, will usually satisfy that test.” Lefemine v. Wideman, 133 S.
Ct. 9, 11 (2012). Successful plaintiffs are entitled to fees incurred during proceedings on
appeal and remand. See Maddrix y. Dize, 153 F.2d 274, 276 (4th Cir. 1946) (“[T]he ordinary
and effective procedure in the allowance of attorney’s fees in litigation which proceeds
through several courts is to place the responsibility on the trial court where the work begins
and ends and the value of the entire service can be best estimated after it has been
completed.”); see also Cabrales v. Cnty. of Los Angeles, 935 F.2d 1050, 1053 (9th Cir. 1991)
(directing that “the district court will also determine the County’s liability for reasonable
attorney’s fees before us, as well as for any fees reasonably incurred during the proceedings
on remand”); Familias Unidas v. Briscoe, 619 F.2d 391, 406 (Sth Cir. 1980) (“[P]laintiffs are
entitled to receive their reasonable attorney’s fees and costs incurred originally in the
bringing of this action and throughout the course of the ensuing appeals and remands.”).

As was the case following the bench trial, Plaintiffs are plainly the prevailing parties

on remand from both of Intervenor-Defendants’ appeals. They requested a declaratory

judgment that the 2012 Third Congressional District contravenes the Equal Protection

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Clause, and the Court unequivocally held in its June 5, 2015, Memorandum Opinion that the
plan “violates the Equal Protection Clause.” Dkt. Entry No. 170 at 49. Plaintiffs also sought
to permanently enjoin Defendants from enforcing the boundaries as drawn in the 2012 plan,
and the Court permanently enjoined Virginia from “conducting any elections for the office of
United States Representative until a new redistricting plan is adopted.” Dkt. Entry No. 171.
Before this litigation, Virginia indisputably intended to conduct elections after the 2014
general election under the 2012 plan. After the ruling, Virginia may not use the plan for any
election, and must instead conduct elections under the remedial plan adopted by the Court, as
it is in the midst of doing this year. The Supreme Court has affirmed. Plaintiffs prevailed
and entitled to attorneys’ fees and reasonable litigation expenses.

Cc, The Court Should Award Plaintiffs $73,540.50 in Fees for Work on the
First Remand

As set out above, after the Court reaffirmed its original memorandum opinion., Dkt.
Entry No. 175, Plaintiffs filed their Third Fee Motion, seeking fees related to their work on
remand from the first appeal. Intervenors-Defendants, in their response, argued that the
Court should delay its resolution of the motion until after their pending second appeal, and
that the Court should award fees against Defendants but not Intervenor-Defendants.
Intervenor Defendants also lodged terse and boilerplate objections that Plaintiffs requested
“excessive” fees. See generally Dkt. Entry No. 184. Defendants, for their part, argued in
main that the Court should award fees against Intervenor-Defendants. See generally Dkt.
Entry No. 183 at 3-8. Defendants also asked the Court to award Plaintiffs’ fees at
“Richmond” rates rather than the actual rates charged, id. at 9-11, and further argued that
Plaintiffs should not recover for work related to Plaintiffs’ opposition to intervention by

Intervenors Brat and Comstock.”

 

* As to the latter point, Plaintiffs objected to intervention on the grounds that neither Representative
Brat nor Representative Comstock had standing, see generally Dkt. Entry No. 152, a position vindicated by the
Supreme Court in its dismissal of Intervenor-Defendanits’ second appeal, see Dkt. Entry No. 315-1.

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Plaintiffs ultimately requested a supplemental fee award of $73,540.50, agreeing to
seek recovery at the “Richmond” rates identified by Defendants. See Dkt. Entry No. 184 at
3; see also Dkt. Entry No. 186-1 (table reflecting total fee request broken down by
timekeeper). Plaintiffs’ request for these fees has been fully briefed and there is no need for
the parties to burden the Court by comprehensively rebriefing the matter. Rather, for the
reasons Plaintiffs have stated in their prior briefing, Dkt. Entry Nos. 176, 184, the Court
should Plaintiffs fees in the amount of $73,540.50 for their work during the first remand
leading up to the Court’s re-affirmation of its original memorandum opinion striking down
CD 3.

D. The Court Should Award Plaintiffs Fees and Reasonable Litigation

Expenses for Their Work During the Remedial Phase and on Intervenor-
Defendants’ Second Appeal
1. Plaintiffs’ Attorneys’ Fees Are Reasonable.

Federal courts employ the familiar lodestar method to calculate the reasonableness of
attorneys’ fees under the civil-rights fee-shifting statutes. Hensley, 461 U.S. at 433; McAfee
vy. Boczar, 738 F.3d 81, 88 (4th Cir. 2013), Lodestar entails “the number of hours reasonably
expended on the litigation multiplied by a reasonable hourly rate.” Hensley, 461 U.S. at 433;
see also Blum v. Stenson, 465 U.S. 886, 888 (1984). This Court may “adjust the fee upward
or downward”—the crucial factor in determining this adjustment is the extent of the
plaintiffs success. Hensley, 461 U.S. at 434.

This Court has discretion to award fees for time “reasonably expended” in this
litigation. Hensley, 461 U.S. at 435. With regard to work performed since Plaintiffs filed
their Third Fee Motion, Plaintiffs seek compensation for 1,316.50 hours in time totaling
$618,201.00. This figure is reasonable in light of the time and experience necessary to
litigate the complex issues raised during the remedial phase, analyze and respond to the large
number of remedial proposals put forward by Intervenor-Defendants and non-parties, and

then successfully obtain a complete victory on Intervenor-Defendants’ second appeal.

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Plaintiffs’ request for attorneys’ fees also reflects counsels’ exercise of appropriate billing
judgment.

Provided as Appendix A to this motion is a consolidated spreadsheet that describes
the specific tasks performed by every timekeeper on a daily basis and the number of hours
spent on those tasks. Plaintiffs compiled this spreadsheet from contemporaneously created
time records.’ See Declaration of Kevin J. Hamilton (“Hamilton Decl.”) 7. The attached
Hamilton Declaration supports Plaintiffs’ request. The declaration certifies that the hours
expended were actually expended as described in the attached billing records, which are
organized chronologically and list attorney name, date, and hours expended on the particular
activity or project. Jd. All time is broken down by individual task. Jd. Mr. Hamilton’s
declaration attests that all attorneys participating in the case on remand maintained detailed,
contemporaneous, and accurate records of time devoted to this matter throughout the entire
course of representation. Jd. The declaration further attests that all billing attorneys
efficiently discharged their duties in litigating this case. Jd 410. To further bolster the
reasonableness of Plaintiffs’ request, counsel for Plaintiffs exercised reasonable billing
judgment and excluded from their calculations any hours that were arguably “excessive,
redundant, or otherwise unnecessary.” Hensley, 461 U.S. at 434. Plaintiffs have already
written off 129.70 hours and $19,753.50 from their bills. Hamilton Decl. 911. While
Plaintiffs believe that all of this time was reasonably spent, Plaintiffs have elected to forgo
recovery for, among other things, time spent by many timekeepers who assisted core
members of Plaintiffs’ litigation team.

“Where a plaintiff has obtained excellent results, his attorney should recover a fully

compensatory fee.” Hensley, 461 U.S. at 434. Counsel for the Plaintiffs in this case

 

? Plaintiffs can provide underlying billing invoices to the Court upon request for inspection, but believe
the provided spreadsheet renders Plaintiffs’ billing data much easier to assess and review. This is particularly
true because, as explained herein, Plaintiffs are seeking recovery of fees at local rates rather than the rates
actually charged, and have written off time that is reflected on the underlying invoices.

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diligently defended their clients’ interests and ultimately prevailed at trial and on remand.
Plaintiffs should therefore be granted an award for all hours submitted to the Court.

Finally, Plaintiffs’ attorneys’ hourly rates are reasonable. Plaintiffs maintain that it
was reasonable for them to secure, representation from attorneys outside of Richmond with
particularized expertise in voting rights litigation. That said, as stated in Plaintiffs’ reply in
support of their Third Fee Motion (Dkt. Entry No. 184), Plaintiffs are willing to compromise
to avoid dispute and agree to seek recovery at “Richmond” rates. With respect to work
performed in 2015, Plaintiffs seek recovery at the rates set out in Defendants’ response to
their Third Fee Motion. See Dkt. Entry No. 183 at 11.4 With respect to work performed in
2016, Plaintiffs seek recovery at the rates previously identified by Defendants, with upward
adjustments to reflect (where applicable) actual increases in Plaintiffs’ counsels’ 2016 rates.
Hamilton Decl. 8.

2. The Court Should Award Plaintiffs’ Reasonable Litigation
Expenses

Sections 1988(b) and 10310(e) allow a prevailing party to cover other reasonable
litigation expenses. 52 U.S.C. § 10310(e) (providing that a “prevailing party” may recover
“other reasonable litigation expenses as part of the costs”); Daly v. Hill, 790 F.2d 1071, 1083
(4th Cir. 1986) (noting that “reasonable attorneys’ fees under § 1988 must include reasonable
expenses because attorneys’ fees and expenses are inseparably intertwined as equally vital
components of the costs of litigation”) (internal quotation marks, alterations, and citation
omitted).

Recoverable expenses including any that are usually charged to fee-paying clients.
See Missouri v. Jenkins by Agyei, 491 U.S. 274, 285 (1989) (noting that the “fee must take
into account the work not only of attorneys, but also of secretaries, messengers, librarians,

janitors and others whose labor constitutes the work product for which an attorney bills her

 

* To the extent additional timekeepers performed work later in 2015, Plaintiffs have proposed rates
based on the rate for comparable attorneys identified in the table provided by Defendants. See Hamilton Decl.

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client; and it also must take account of other expenses and profit”); see also Dowdell v. City
of Apopka, 698 F.2d 1181, 1192 (11th Cir. 1983) (with the exception of “routine office
overhead normally absorbed by the practicing attorney, all reasonable expenses incurred in
case preparation [or] during the course of litigation . .. may be taxed as costs under section
1988”).

Such expenses may include such things as photocopying charges, fees of process
servers, travel and related meal expenses, telephone, postage, computer research, and data
hosting and processing fees. Jenkins, 491 U.S. at 289; Taylor v. Republic Servs., Inc., No.
2014 WL 325169 at *13 (E.D. Va. Jan. 29, 2014) (allowing compensation for “miscellaneous
services, including costs associated with copies, facsimile, postage, Federal Express,
messenger service, local travel and parking, telephone usage and legal research”); Evans v,
Books-A-Million, 762 F.3d 1288, 1299 (11th Cir. 2014) (collecting cases); Doe ex rel. Doe v.
Keala, 361 F. Supp. 2d 1171, 1189 (D. Haw. 2005) (“Out-of-pocket expenses for long
distance telephone calls, messenger service, postage, facsimile, computerized legal research,
and travel are ordinarily allowed under Section 1988.”); D.G. ex rel. Strickland v. Yarbrough,
2013 WL 1343151, at *8-9 (N.D. Okla. Mar. 31, 2013) (allowing recovery of reasonable
expenses incurred in using vendors for electronic document hosting and management to the
extent expenses were adequately documented); see also Wash. Dep’t of Wildlife v.
Stubblefield, 739 F. Supp. 1428, 1433 (W.D. Wash. 1989) (allowing for recovery of expenses
of computerized legal research under 28 U.S.C. § 2412(d)(1)(A)); Sussman v. Patterson, 108
F.3d 1206, 1213 (10th Cir. 1997) (allowing recovery of the costs of “items such as
photocopying, mileage, meals, and postage”).

Here, Plaintiffs seek recovery of expenses in the total amount of $19,316.75.
Attached as Appendix B to this motion is a spreadsheet that provides a detailed and itemized

account of all expenses requested by Plaintiffs. See also Hamilton Decl. {J 13-14.° All the

 

° Again, Plaintiffs maintain underlying documentation for such expenses, but believe that the
spreadsheet attached as Appendix B is much easier to review for purposes of this motion.

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expenses were necessarily and reasonably incurred in the course of providing representation
to the Plaintiffs.

E. Defendants and Intervenor-Defendants Are Jointly Liable for Attorneys’

Fees and Reasonable Litigation Expenses for Work Performed on
Remand, During the Remedial Phase, and on Intervenor-Defendants’
Second Appeal

Plaintiffs’ interest is in recovering the fees and expenses to which they are entitled as
the prevailing parties. The Court has discretion to determine the appropriate allocation of
fees and Plaintiffs leave that allocation to the Court’s judgment or the private agreement of
Defendants and Intervenors. See Jones v. Southpeak Interactive Corp. of Delaware, 777 F.3d
658, 677 (4th Cir. 2015).

Plaintiffs have previously explained why, given the procedural history of this case, it
is appropriate to hold Intervenor-Defendants accountable for Plaintiffs’ fees and reasonable
litigation expenses. See Dkt. Entry No. 176 at 7-9; see also Dkt. Entry No. 184 at 5-8. The
Court elected to defer its consideration of the issue pending Intervenor-Defendants’ second
appeal, denying Plaintiffs’ Third Motion without prejudice. See Dkt. Entry No. 198. To aid
the Court in its resolution of the issue now, Plaintiffs summarize their prior briefing.

Intervenor-Defendants entered this lawsuit shortly after it was filed in 2013. See Dkt.
Entry Nos. 1, 16. Over the next three years, Intervenor-Defendants took the lead in actively
litigating this case and defending the unconstitutional CD 3. Indeed, Intervenor-Defendants,
and not Defendants, are responsible for the ongoing litigation following this Court’s October
7, 2014 Opinion and Order. Only Intervenor-Defendants appealed to the Supreme Court,
Dkt. Entry No. 123, and only the Intervenor-Defendants contended that Alabama altered this
Court’s original analysis, Dkt. Entry No. 151. Among the parties, only Intervenor-
Defendants objected to the Special Master’s proposed remedial plans. And after the Court
reaffirmed its original decision, Intervenor-Defendants appealed again. Defendants did not.
In short, Intervenor-Defendants have been solely responsible for the dramatic extension of
this lawsuit from October 2014 to July 2016. Without their involvement, this case would

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have been finally resolved in either late 2014 or early 2015 at the latest. Plaintiffs’ fees
would have been far less had they not had to defend the Court’s orders against Intervenor-
Defendants’ attacks. Strikingly, Intervenor-Defendants imposed these dramatic burdens on
the Court, Plaintiffs, and Defendants even though they did not have standing. See Dkt.
Entry. No. 315-1.

In a run-of-the-mill case, an “innocent” intervenor who enters a lawsuit to protect a
discrete interest is not liable for attorneys’ fees unless the intervenors’ actions are frivolous
or unreasonable. Indep. Fed’n of Flight Attendants v. Zipes, 491 U.S. 754, 758 n.2, 761-63
(1989). But where, as here, an intervenor becomes the functional equivalent of a defendant,
it assumes the risk of a fee award against it. See, e.g., Charles v. Daley, 846 F.2d 1057, 1064
(7th Cir. 1988) (affirming fee award against private intervenors: “We cannot and refuse to
ignore the fact that the [private] intervenors’ unilateral decision, one week after the plaintiffs
filed suit, to join with the state defendants in adamantly defending the constitutionality of the
Abortion Act rendered them full-fledged parties to the lawsuit and entitled them to
participate independently in all phases of the litigation.”).

For example, under similar circumstances, the Third Circuit held that an Intervenor-
Defendant may be liable for attorneys’ fees. See Planned Parenthood of Cent. New Jersey v.
Attorney Gen. of State of New Jersey, 297 F.3d 253, 273 (3d Cir. 2002). In Planned
Parenthood, the New Jersey Legislature passed an Act over the governor’s veto. Jd. at 258.
When the named defendants declined to defend the act in a subsequent lawsuit, the
Legislature intervened to defend the constitutionality of the act. Jd After succeeding on the
merits, the plaintiffs sought fees against the Legislature. Id. at 259. In Planned Parenthood,
the Third Circuit noted that “the legislature is the functional equivalent of a defendant in the
case—without it, there would be no case.” Jd. at 264-65. Accordingly, the court held that
“when a legislature steps out of its traditional role of promulgating statutes and intervenes to

defend the constitutionality of an act which the executive branch is unwilling to defend, it

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becomes the functional equivalent of a defendant and may be liable for attorneys’ fees.” Jd.
at 272-73; see also Mallory v. Harkness, 923 F. Supp. 1546 (S.D. Fla. 1996), aff'd, 109 F.3d
771 (11th Cir. 1997) (imposing fees on attorney general who “defended the unconstitutional
statute voluntarily” and “played a pivotal role in the litigation.”).

In sum, Intervenors-Defendants—like Defendants—are liable for Plaintiffs’ fees.
Intervenors-Defendants’ decision to mount a Stalingrad defense of an unconstitutional
redistricting plan has a consequence—they have made themselves liable for Plaintiffs’ fees.
HW. CONCLUSION

For the reasons set forth above, Plaintiffs respectfully request that this Court
(1) reinstate the previous award of attorneys’ fees and reasonable litigation expenses against
Defendants; (2) approve additional attorneys’ fees as set out in Plaintiffs’ Third Fee Motion
in the amount of $73,540.50; (3) approve additional attorneys’ fees and reasonable expenses
incurred during the remedial phase and on Intervenors-Defendants’ second appeal in the
amount of $618,201.00 and $19,316.75, respectively; and (4) grant attorneys’ fees against

Intervenor-Defendants as well as Defendants.

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Dated: July 8, 2016

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Respectfully submitted,

By/s/ Aria C. Branch

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Attorneys for Plaintiffs
Case 3:13-cv-00678-REP-LO-AD Document 317 Filed 07/08/16 Page 16 of 81 PagelD# 6695

CERTIFICATE OF SERVICE

I hereby certify that on this 8th day of July, 2016, I caused the foregoing to be
electronically filed with the Clerk of this Court using the CM/ECF system, which will then send
a notification of such filing to the counsel of record in this case.

Respectfully submitted,

By /s/_ Aria C. Branch
Aria C. Branch (VSB #1014541)
Perkins Coie LLP
700 13th St. N.W., Suite 600
Washington, D.C. 20005-3960
Phone: (202) 434-1627
Fax: (202) 654-9106
Email: ABranch@perkinscoie.com

Attorneys for Plaintiffs

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APPENDIX A
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Appendix A

 
   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Hamilton, 1/10/2016 $655.00 $605.00 eview and respond to email regarding conference

Kevin J. call to coordinate amici briefing (.5);

Khanna, 1/11/2016 6.00 | $525.00 3,150.00 $435.00 $2,610.00|Research and draft Opposition to Appellants’ Brief

Abha (5.2); telephone conference with M. Elias regarding
same (0.3); email with S. Gonski regarding research
assignments for same (0.3); confer with B. Stafford
regarding supplementation of record to include
remedial order (0.2);

Stafford, 1/11/2016 0.80 | $495.00 396.00 $405.00 5324.00|Review amicus brief and conference with A.

William B. Khanna regarding strategy to respond to same;

Hamilton, 1/12/2016 2.30 | $655.00 1,506.50 $605.00 $1,391.50|Review order denying motion to stay

Kevin J. implementation of remedial map (.9); review and
respond to related email regarding potential
appeal to U.S. Supreme Court and related staffing
and timing issues (.9); prepare for and telephone
conference with Supreme Court clerk’s office
regarding deadlines for opposition to motion for a
stay of the remedial map (.5);

Khanna, 1/12/2016 6.30 | $525.00 3,307.50 $435.00 $2,740.50|Research and draft Opposition Brief (5.7); email

Abha and confer with legal team (K. Hamilton, J.
Devaney, B. Stafford) regarding impending Motion
to Stay and logistics of drafting and filing response
(0.3); skim Motion to Stay filed by Appellants (0.3);

Louijeune, 1/12/2016 3,50 | $320.00 1,120.00 $320.00 $1,120.00] Draft memo on standing (1.0); Listen to Oral

Ruthzee Arguments in relevant cases on standing and read
transcripts (2.5);

Stafford, 1/12/2016 4.10 | $495.00 2,029.50 $405.00 $1,660.50|Prepare response to application for motion to stay

William B. in anticipation of filing of motion;

Frost, 1/13/2016 0.20 | $520.00 104.00 $435.00 $87.00]Telephone call with K. Hamilton and A. Khanna

Elisabeth C. regarding amicus brief (.1); emails with M. Elias
regarding amicus call (.1);

Gonski, 1/13/2016 4.00 | $310.00 1,260.00 $310.00 $1,240.00|Review Alabama redistricting case record to find

Sarah R. references to political effect of challenged map
(2.0); draft research summary to A. Khanna and B.
Stafford (.3); conduct research regarding instances
of courts discussing alternative maps (1.7);

 

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Hamilton, 1/13/2016 7.90 | $655.00 5,174.50 $605.00 $4,779.50|Telephone conference with Supreme Court Clerk’s
Kevin J. office regarding deadline for filing opposition to
application for emergency stay of implementation
of remedial map (.4); exchange email regarding
discussion with clerk’s office and related deadlines
for filing opposition (1.2); telephone conference
regarding coordination with amici (2.5); review and
revise draft briefing in opposition to stay (2.8);
conference with A. Khanna and B. Stafford
regarding opposition briefing and related issues

 

(1.0);
Khanna, 1/13/2016 5.90 | $525.00 3,097.50 $435.00 $2,566.50] Participate in call with potential amici counsel
Abha (0.8); email with legal team regarding same (0.2);

review research summary from S. Gonski and email
with S. Gonski regarding same (0.3); research and
draft Opposition Brief (4.6);

 

Louijeune, 1/13/2016 6.20 | $320.00 1,984.00 $320.00 $1,984.00] Listen to oral arguments and read transcripts for
Ruthzee relevant standing cases (4.6); Edit memo on
standing (1.6);

 

 

 

Marino, 1/13/2016 0.50 | $250.00 125.00 $250.00 $125.00|Respond to attorney request for

Patricia information/documents regarding Preclearance
submission;

Stafford, 1/13/2016 6.00 | $495.00 2,970.00 $405.00 $2,430.00] Review and draft opposition to application for

William B. motion to stay;

Gonski, 1/14/2016 2.50 | $310.00 787.50 $310.00 $775.00]Conduct research regarding instances of courts

Sarah R. moving/compressing election deadlines to remedy

voting rights violations (1.0); draft research
summary to A. Khanna and B. Stafford (.5);
research follow-up questions and send revised

 

summary (1.0);
Hamilton, 1/14/2016 4.20 | $655.00 2,751.00 $605.00 $2,541.00] Telephone conference with Supreme Court Clerk’s
Kevin J. office regarding deadline for filing opposition to

emergency motion for stay (.4); report to team on
call with Supreme Court Clerk’s office and

exchange related email (1.2); discussions regarding
coordination of amici filings and related discussions
(1.8); conference with A. Khanna and B, Stafford
regarding outline of opposition to emergency
motion for stay and related issues (.8);

 

Khanna, 1/14/2016 6.30 | $525.00 3,307.50 $435.00 $2,740.50) Telephone conference with A. Riggs (NAACP)
Abha regarding amicus in opposition to stay application
(0.3); email with legal team regarding same (0.2);
confer with B. Stafford regarding argument in
opposition to stay application (0.3); email with S.
Gonski regarding research task regarding same
(0.3); research and draft Opposition on the merits
(5.2);

 

 

 

 

 

 

 

 

 

 

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Louijeune, $1,376.00

Ruthzee to counsel;

Stafford, 1/14/2016 4.90 | $495.00 2,425.50 $405.00 $1,984.50|Research and draft opposition to application for

William B. stay (4.7); conference with A. Khanna regarding
same (.2);

Gonski, 1/15/2016 0.50 | $310.00 157.50 $310.00 $155.00|Conduct research regarding deferential standard of

Sarah R, review for fact finding as applied to dual district
court findings (.4); draft research summary and
send to A. Khanna and B. Stafford (.1);

Hamilton, 1/15/2016 3.90} $655.00 2,554.50 $605.00 $2,359.50|Telephone conference regarding briefing in

Kevin J. opposition to emergency application for a stay
(1.2); review application for stay and related
materials (1.9); conference with B. Stafford and A.
Khanna regarding briefing and related timing issues
(.8);

Khanna, 1/15/2016 5.60 | $525.00 2,940.00 $435.00 $2,436.00]Research and draft Opposition on the merits (4.8);

Abha confer with K. Hamilton regarding amicus brief
(0.2); review and revise draft Opposition to Stay
(0.4); confer with B. Stafford regarding call with S.
Raphael regarding same (0.2);

Stafford, 1/15/2016 2.40 | $495.00 1,188.00 $405.00 $972.00] Research and draft opposition to application for

William B. stay;

Khanna, 1/16/2016 3.30 | $525.00 1,732.50 $435.00 $1,435.50)/Review and revise Opposition to Stay Application

Abha (1,0); research and draft Opposition on the merits
(2.3);

Stafford, 1/16/2016 3.20 | $495.00 1,584.00 $405.00 $1,296.00]Research and draft opposition to application for

William B. stay;

Khanna, 1/17/2016 0.90 | $525.00 472,50 $435.00 $391.50] Research and draft Opposition on merits (0.9);

Abha

Stafford, 1/17/2016 1.50} $495.00 742,50 $405.00 $607.50] Revise opposition to stay application (.4); draft

William B. section of merits brief regarding standing (1.1);

Gonski, 1/18/2016 2.00 | $315.00 630.00 $315.00 $630.00]Conduct research regarding scope of clear error

Sarah R. review when making credibility determinations

 

 

 

 

 

 

 

 

(1.0); draft research summary and send to A.
Khanna (.2); telephone conference with A. Khanna
regarding occupational and candidate standing
questions (.1); begin researching occupational and
electoral standing questions (.7);

 

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Hamilton, $65 $605.00 Review and respond to email regarding opposition

Kevin J. to emergency application for stay (.4); review draft
opposition (.5);

Khanna, 1/18/2016 7.80 | $525.00 4,095.00 $435.00 $3,393.00/Research and draft Opposition to merits brief (7.4);

Abha confer with B. Stafford regarding same (0.4);

Stafford, 1/18/2016 1.10} $495.00 544.50 $405.00 $445.50|Revise merits brief;

William B.

Elias, Marc E,| 1/19/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with A. Khanna, E. Frost, K.

; Hamilton regarding Hutcheson amicus brief;

Elias, Marc E.| 1/19/2016 0.10 | $765.00 76.50 $605.00 $60.50|Email correspondence with E. Prelogar, K. Hamilton
regarding SG call;

Frost, 1/19/2016 0.20 | $520.00 104.00 $435.00 $87.00|Telephone cal from Richmond attorney regarding

Elisabeth C. amicus brief in support of appellees (.1); emails
with M. Elias, K. Hamilton and A. Khanna regarding
blanket letter regarding amicus briefs (.1)

Gonski, 1/19/2016 1.60 | $315.00 504.00 $315.00 $504.00|Conduct research regarding distinguishing standing

Sarah R. cases appellants cite (1.3); draft research summary
and send to A. Khanna (.3);

Hamilton, 1/19/2016 5.20 | $655.00 3,406.00 $605.00 $3,146.00|Review and revise draft opposition to emergency

Kevin J. application for stay (2.7); conference with A.
Khanna and B. Stafford regarding same (.7);
conference with M. Elias regarding argument
preparation (.5); telephone conference with
Solicitor General’s office regarding supporting
briefing (.5); telephone conference with M. Elias
regarding same (.6); follow up email exchange
regarding same (.2);

Khanna, 1/19/2016 10.40] $525.00 5,460.00 $435.00 $4,524,00|Research and draft Opposition on the merits (10.2);

Abha telephone conference with G. Eppsteiner (NAACP)
regarding amicus in opposition to stay (0.2);

Stafford, 1/19/2016 2.90 | $495.00 1,435.50 $405.00 $1,174.50|Exchange correspondence regarding opposition to

William B. stay application (.2); revise same (2.1); research
issues pertaining to merits brief (.3); conference
with A. Khanna regarding same (.3);

Elias, Marc E.| 1/20/2016 0.60 | $765.00 459.00 $605.00 $363.00|Teleconference with E. Prelogar, K. Hamilton
regarding SG arguing Wittman case (.4); email
correspondence regarding same (.2);

 

 

 

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Hamilton, 1/20/2016 7.90 $655, 00 5,174.50 Seas: 00 $4,779.50] Review transcript of hearing on remedial maps in

Kevin J. trial court (1.5); prepare for and telephone
conference with solicitor general’s office and M.
Elias (1.0); follow up regarding argument division
(.9); conference with A. Khanna regarding merits
briefing (.5); review and revise draft brief in
opposition to emergency stay application (2.5);
exchange related email (.9); review and exchange
email regarding merits briefing (.6);

Khanna, 1/20/2016 7.30 | $525.00 3,832.50 $435.00 $3,175.50|Research and draft Opposition on the merits (1.5);

Abha review and revise same (5.8);

Stafford, 1/20/2016 6.10 | $495.00 3,019.50 $405.00 $2,470.50] Research and draft opposition to motion to stay;

William B.

Elias, Marc E.| 1/21/2016 1.00 | $765.00 765.00 $605.00 $605.00] Review stay motion and brief;

Elias, Marc E.| 1/21/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with B. Stafford, K.
Hamilton, A. Khanna, and J. Devaney regarding
opposition to stay;

Hamilton, 1/21/2016 3.90 | $655.00 2,554.50 $605.00 $2,359.50] Review finalized brief in opposition to emergency

Kevin J. application for a stay (2.2); conference with B.
Stafford and A. Khanna regarding same (.9);
coordination regarding finalization of merits
briefing (.8);

Khanna, 1/21/2016 6.70 | $525.00 3,517.50 $435.00 $2,914.50] Exchange correspondence regarding opposition to

Abha motion to stay and related issues (1.0); review and
revise Brief for Appellees (5.7);

Stafford, 1/21/2016 4.40 | $495.00 2,178.00 $405.00 $1,782.00] Research and draft opposition to application for

William B. stay (2.0); correspondence regarding related issues
(.8); review and revise merits brief (1.6);

Elias, Marc E.| 1/22/2016 0.10 | $765.00 76.50 $605.00 $60.50|Email correspondence with E. Frost, K. Hamilton
regarding consent for Amicus briefs;

Elias, Marc E.| 1/22/2016 0.20 | $765.00 153.00 $605.00 $121.00|Teleconference regarding argument time;

Elias, Marc E.| 1/22/2016 0.20 | $765.00 153.00 $605.00 $121.00|Teleconference with S. Raphael regarding
argument time (.1); email correspondence with K.
Hamilton regarding same (.1);

Frost, 1/22/2016 2.90 | $520.00 1,508.00 $435.00 $1,261,.50|Review and revise draft of merits brief (2.7); emails

Elisabeth C. with A. Khanna regarding blanket consent to
amicus (.2);

 

 

 

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Appendix A

 
   

       

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Hamilton, 1/22/2016 2.20 | $655.00 1,441.00 $605.00 $1,331.00] Review reply brief in support of emergency
Kevin J. application for a stay (.4); exchange related email
(.5); conference with A. Khanna regarding merits
briefing (.8); review and respond to email from M.
Elias regarding briefing, argument, and related

 

 

 

issues (.5);
Khanna, 1/22/2016 5.80 | $525.00 3,045.00 $435.00 $2,523.00] Review edits and comments to merits brief from E.
Abha Frost and B. Stafford (0.5); review and revise merits

brief (4.8); review Appellants' stay reply brief and
confer with B. Stafford regarding same (0.5);

 

 

 

 

 

Stafford, 1/22/2016 2.80 | $495.00 1,386.00 $405.00 $1,134.00] Review intervenors' reply in support of application

William B. for stay (.3); research and draft merits brief (2.5);

Hamilton, 1/23/2016 3.20 | $655.00 2,096.00 $605.00 $1,936.00] Review and revise draft merits brief (2.9); exchange

Kevin J. email with A. Khanna regarding same (.3);

Stafford, 1/23/2016 2.00 | $495.00 990.00 5405.00 $810.00] Revise merits brief;

William B.

Elias, Marc E.| 1/24/2016 5.00 | $765.00 3,825.00 $605.00 $3,025.00] Review materials in preparation for Supreme Court
hearing;

Frost, 1/24/2016 0.70 | $520.00 364.00 $435.00 $304.50|Review and revise memo regarding standing in

Elisabeth C, advance of Supreme Court argument (.5); email to

A. Khanna regarding standing argument (.1); email
to R. Louijeune regarding standing memo {.1);

 

 

Hamilton, 1/24/2016 0.90 | $655.00 589.50 $605.00 $544,50/Exchange email regarding revisions to merits brief;
Kevin J.

Khanna, 1/24/2016 2.30 | $525.00 1,207.50 $435.00 $1,000,50]Review edits and comments of legal team and cite-
Abha check Editors (0.5); revise brief in light of same

(1.7); send draft to printer (0.1);

 

Elias, Marc E,| 1/25/2016 0.50} $765.00 382.50 $605.00 §302.50|Email correspondence with A. Khanna regarding
draft merits brief;

 

 

Elias, Mare £.| 1/25/2016 1.00 | $765.00 765.00 $605.00 $605.00|Review and revise draft merits brief;
Frost, 1/25/2016 0.60 | $520.00 312.00 $435.00 $261.00]Research procedure for filing blanket amicus letter
Elisabeth C. with Supreme Court (.1); draft blanket amicus

consent letter (.3); emails with A. Khanna regarding
Fourth Circuit precedent on intervenor standing
(.2);

 

 

 

 

 

 

 

 

 

 

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Hamilton, 1/25/2016 1.50 $655.00 982.50 $605.00 $907.50|Review finalization of merits briefing (.9); exchange
Kevin J. related email (.6);

Khanna, 1/25/2016 5.90 | $525.00 3,097.50 $435.00 $2,566.50|Review and revise brief for substantive edits (3.2);
Abha incorporate additional edits from cite-check Editor

(0.4); review proof sent by publisher (1.3); make
hand-written edits on same and scan and send
same to publisher (1.0);

 

Louijeune, 1/25/2016 0.50 | $320.00 160.00 $320.00 $160.00|Research argument that intervenors can claim
Ruthzee standing at this stage of the litigation as a direct
result of the district court's ruling;

 

 

Stafford, 1/25/2016 0.70 | $495.00 346.50 $405.00 $283.50|Revise merits brief and confer with A. Khanna
William B. regarding same;
Elias, Marc E.} 1/26/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with K. Hamilton, E. Frost, A.

Khanna regarding oral argument time allocation;

 

Elias, Marc E.| 1/26/2016 0.20 | $765.00 153.00 $605.00 $121.00]Review brief to be filed; email correspondence with
A. Khanna regarding same;

 

Frost, 1/26/2016 0.40 | $520.00 208.00 $435.00 $174.00|Telephone calls with A. Khanna and B, Stafford and
Elisabeth C. meeting with L. Bull regarding filing papers in
Supreme Court (.3); emails with L. Bull regarding
blanket consent letter (.1);

 

Hamilton, 1/26/2016 1.60 | $655.00 1,048.00 $605.00 $968.00]Review and respond to email regarding amicus
Kevin J. briefing (.7); review and respond to email regarding
dispute over allocation of oral argument time (.9);

 

Khanna, 1/26/2016 4.50 | $525.00 2,362.50 $435.00 $1,957.50| Review and revise proof of brief (3.2); write in hand
Abha written edits on proof and send to printer (0.6);
confer with B. Stafford regarding same (0.4); search
for missing record evidence regarding same (0.3);

 

Stafford, 1/26/2016 1.10 | $495.00 544.50 $405.00 $445.50)Provide support to A. Khanna's finalization of
William B. merits brief by identifying record citations for
various propositions and conferencing with A.
Khanna regarding same;

Elias, Marc E.| 1/27/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with E, Frost, K. Hamilton, A.
Khanna regarding oral argument time allocation;

 

 

Elias, Marc E.| 1/27/2016 0,10 | $765.00 76.50 $605.00 $60.50] Email correspondence with J. Devaney, A. Khanna,
E, Frost regarding FOIA request;

 

Elias, Marc E.| 1/27/2016 0.10 | $765.00 76.50 $605.00 $60.50|Email correspondence with S. Raphael regarding
oral argument time allocation;

 

 

 

 

 

 

 

 

 

 

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16 20 $520.00 $435.00 $87.00 Emails with litigation team regarding oral argument

        

Frost, 1/27/20

 

Elisabeth C. issues (.2);
Hamilton, 1/27/2016 2.00 | $655.00 1,310.00 $605.00 $1,210.00] Review and respond to email regarding allocation
Kevin J. of argument time and related issues (.9); review

email regarding amici filings (.4); review merits
briefing from state (.7);

 

 

 

Khanna, 1/27/2016 2.30} $525.00 1,207.50 $435.00 $1,000.50} Review, revise, and finalize proof of merits brief for
Abha filing (2.3);

Stafford, 1/27/2016 0.50 | $495.00 247.50 $405.00 $202.50|Review brief submitted by third party and

William B. conference with A. Khanna regarding same;

Elias, Marc E.| 1/28/2016 0.20 | $765.00 153.00 $605.00 $121.00|Email correspondence with S. Raphael, E. Prelogar

regarding oral argument time allocation;

 

Elias, Marc E.| 1/28/2016 0.50 | $765.00 382.50 $605.00 $302.50|Teleconference with S. Raphael, E. Prelogar
regarding argument time;

 

Elias, Marc E.| 1/28/2016 0.30 | $765.00 229.50 $605.00 $181.50|Review time allocation issues;

 

Elias, Marc E,| 1/28/2016 0.50 | $765.00 382.50 $605.00 $302.50] Follow-up teleconference with S. Raphael, E.
Prelogar regarding argument time;

 

Elias, Marc E.| 1/28/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with J. Dodge, M. Carvin, M.
Keats, E. Frost to consent to file amicus brief;

 

 

Hamilton, 1/28/2016 1.00 | $655.00 655.00 $605.00 $605.00] Review draft amicus and exchange related email;
Kevin J.
Elias, Marc E.| 1/29/2016 0.20 | $765.00 153.00 $605.00 $121.00] Email correspondence with E. Frost regarding

Georgetown moot information;

 

Elias, Marc E.| 1/29/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with E. Prelogar regarding
other case on the docket on 3/21;

 

Elias, Marc E.| 1/29/2016 0.20 | $765.00 153.00 $605.00 $121,00|Review draft motion from VA (.2); email
correspondence with S. Raphael, E. Prelogar, T.
Cox, and E. Frost regarding same (.1);

 

 

 

 

 

 

 

 

 

 

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1/29/2016 0.10 $765.00 $605.00 $60.50 mail correspondence with E, Frost, K. Hamilton, L.
Bull regarding Georgetown Moot plan;

 

Elias, Marc E.

 

Elias, Marc E.| 1/29/2016 0.20 | $765.00 153.00 $605.00 $121,00|Teleconference with A. Khanna regarding oral
argument preparation;

 

Frost, 1/29/2016 1.40 | $520.00 728.00 $435.00 $609.00|Review relevant supreme court rules (.3); emails
Elisabeth C. with R. Louijeune regarding memo on standing (.1);
telephone call with D. Bernstein regarding
Georgetown moot (.2); emails with D. Bernstein
regarding Georgetown moot (.1); emails with M.

= Elias and K. Hamilton regarding Georgetown moot
(.4); review Virginia Solicitor General’s draft motion
for expansion of argument time (.2); emails with M.
Elias regarding motion for expansion of argument

 

 

 

 

 

 

 

time (.1);

Hamilton, 1/29/2016 1.70 | $655.00 1,113.50 $605.00 $1,028.50|Review and respond to email regarding argument

Kevin J. setting (.7); coordinate moot court logistics (1.0);

Khanna, 1/29/2016 2.20 | $525.00 1,155.00 $435.00 $957.00|Review amicus brief (0.7); review merits brief filed

Abha by State Defendants (1.5);

Stafford, 1/29/2016 0.10 | $495.00 49.50 $405.00 $40.50] Exchange correspondence with A, Khanna

William B. regarding oral argument preparation;

Elias, Marc E.| 1/30/2016 0.20 | $765.00 153.00 $605.00 $121.00]Teleconference with A. Khanna regarding oral
argument;

Elias, Marc E.| 1/30/2016 0.20 | $765.00 153.00 $605.00 $121.00] Email correspondence with E. Frost, A. Khanna and
R, Louijeune regarding standing hypothetical
scenarios;

Khanna, 1/30/2016 0.50 | $525.00 262.50 $435.00 $217.50|Telephone conference with M. Elias regarding oral

Abha argument preparation;

Louijeune, 1/30/2016 4.20 | $320.00 1,344.00 $320.00 $1,344.00| Update standing Memo and Incorporate edits (3.0);

Ruthzee Read additional cases and law review article re:

SCOTUS approach to intervenor standing (1.2);

 

Frost, 1/31/2016 1.70 | $520.00 884,00 $435.00 $739,50|Emails with M. Elias, R. Louijeune and A. Khanna
Elisabeth C. regarding mock standing questions (1.1); review
and revise standing memo by R. Louijeune (.5);
emails with Georgetown moot coordinator (.1);

 

Louijeune, 1/31/2016 1.10 | $320.00 352.00 $320.00 $352.00]Respond to potential standing hypotheticals;
Ruthzee

 

 

 

 

 

 

 

 

 

 

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(Wittman v. Personhuballah)

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Appendix A

 

 

 
   

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Khanna, 1/4/2016 3.30 $525.00 1,732.50 $435.00 S 43 50|Review briefing regarding Jurisdictional Statement

Abha and standing (1.8); review Appellants' Brief (1.5);

Louijeune, 1/4/2016 6.40 | $320.00 2,048.00 $320.00 $2,048.00] Draft memo on standing;

Ruthzee

Hamilton, 1/5/2016 0.80 | $655.00 524,00 $605.00 $484.00]Review and respond to email with respect to

Kevin J. briefing (.5); conference with team regarding same
(.3);

Khanna, 1/5/2016 4.80 | $525.00 2,520.00 $435.00 $2,088.00]Review background pleadings regarding Appellants’

Abha Brief (4.8);

Louijeune, 1/5/2016 0.50 | $320.00 160.00 $320.00 $160.00] Draft memo on standing;

Ruthzee

Louijeune, 1/6/2016 2.80 | $320.00 896.00 $320.00 $896.00] Draft memo on standing;

Ruthzee

Stafford, 1/6/2016 1,10 | $495.00 544.50 $405.00 $445.50|Review and prepare summary of major points in

William B. response to appellant's opening brief;

Devaney, 1/7/2016 0.50 | $585.00 305.00 $575.00 $287.50|Review court decision relating to remedial map

John M. (.3); emails relating to decision (.2);

Elias, Marc E.| 1/7/2016 0.60 | $765.00 459.00 $605.00 $363.00]Email correspondence with J. Devaney, B. Stafford,
A. Khanna, K. Hamilton, E. Frost regarding
Personhuballah order (.3); review same (.3);

Hamilton, 1/7/2016 1.50 | $655.00 982.50 $605.00 $907.50|Review court’s order on remedial map (.9); review

Kevin J. and respond to related email (.6);

Khanna, 1/7/2016 5.30] $525.00 2,782.50 $435.00 $2,305.50/Review pleadings and background materials in

Abha preparation for Opposition to Appellants’ Brief
(4.3); review and discuss with B. Stafford Court
Order on remedy (1.0);

Stafford, 1/7/2016 0.60 | $495.00 297.00 $405.00 $243.00]/Review memorandum opinion regarding remedial

William B. plan and motion to stay and prepare analysis of
same for purposes of preparing for further motion
practice and response brief on appeal;

Khanna, 1/8/2016 5.60 | $525.00 2,940.00 $435.00 $2,436.00] Review background pleadings and cases in

Abha preparation of opposition to Appellants’ Brief (3.1);
draft comprehensive outline of Opposition (1.8);
confer with B. Stafford regarding same (0.7);

 

 

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(Wittman v. Personhuballah)

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Stafford, 1/8/2016 2.2 1,089.00 $405.00 $891.00|Conference with A. Khanna on strategic approach

William B. to response brief on appeal (.7); research discrete
issues for same (1.4);

Hamilton, 10/1/2015 4.00 | $620.00 2,480.00 $575.00 $2,300.00] Exchange email with opposing counsel regarding

Kevin J. Special Master and use of DLS resources (1.9);
review and revise draft “oath of confidentiality”
and related communications (.9); exchange email
regarding related issues (.8); review and revise
brief on remedial maps (.4);

Stafford, 10/1/2015 0.20 | $495.00 99.00 $405.00 $81.00|Revise declaration in support of memorandum

William B. regarding other parties’ proposed plans;

Frost, 10/12/2015 0.90 | $475.00 427.50 $390.00 $351.00] Review final proof of brief, certificate of service

Elisabeth C. and page count certification (.9);

Frost, 10/13/2015 1.10 | $475.00 522.50 $390.00 $429.00|Telephone call with printer regarding service of

Elisabeth C. brief (.1); review state's standing brief (.4); review
intervenor's standing brief (.6);

Stafford, 10/13/2015 0.40 | $495.00 198.00 $405.00 $162.00] Review !ntervenors' Supreme Court briefing

William B. regarding standing and draft correspondence to E.
Frost regarding same;

Frost, 10/14/2015 4.30 | $475.00 2,042.50 $390.00 $1,677.00] Research in support of reply brief on standing issue

Elisabeth C. (2.2); draft reply brief on standing issue (2.1);

Frost, 10/16/2015 9.20 | $475.00 4,370.00 $390.00 $3,588.00] Draft reply brief (7.0); research in support of reply

Elisabeth C. brief (2.2);

Frost, 10/17/2015 0.90 | $475.00 427.50 $390.00 $351.00] Review comments on draft reply brief (.1); revise

Elisabeth C. reply brief in response to comments (.8);

Hamilton, 10/17/2015 3.50 | $620.00 2,170.00 $575.00 $2,012.50|Review briefs on appellants’ standing (1.7); review

Kevin J. and revise draft reply brief (1.5); exchange related
email (.3);

Stafford, 10/17/2015 0.60 | $495.00 297.00 $405.00 $243.00]Review and revise Supreme Court reply brief on

William B. standing;

Elias, Marc E.|10/18/2015 1.00 | $735.00 735.00 $575.00 $575.00]Review brief (.8); email regarding same (.2);

Frost, 10/18/2015 3.10 | $475.00 1,472.50 $390.00 $1,209.00] Revise reply brief on standing (2.9); emails with M.

Elisabeth C. Elias, J. Devaney, K. Hamilton and B. Stafford
regarding draft reply brief (.1); email reply brief to
printer (.1);

 

 

 

 

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(Wittman v, Personhuballah)

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Stafford, 10/18/2015 0.70 | $495.00 346.50 $405.00 $28 50 Revise Supreme Court reply brief on standing;

William B.

Frost, 10/19/2015 1.50 | $475.00 712.50 $390.00 $585.00] Review proof and revise reply brief (1.5);

Elisabeth C.

Hamilton, 10/19/2015 0.90 | $620.00 558.00 $575.00 $517.50|Review Garret briefs and related email from B.

Kevin J. Stafford (.9);

Stafford, 10/19/2015 0.40 | $495.00 198.00 $405.00 $162,00|Review and revise Supreme Court reply brief on

William B. standing;

Hamilton, 10/2/2015 2.30 | $620.00 1,426.00 $575.00 $1,322.50|Prepare for and participate in telephone

Kevin J. conference with court regarding Special Master
and use of DLS personnel to assist (.9}; review and
revise proposed order regarding same (.9);
exchange related email (.3); review final filing with
court (.2);

Stafford, 10/2/2015 2.20 | $495.00 1,089.00 $405.00 $891.00|Revise memorandum regarding other proposed

William B. remedial plans and accompanying declaration;

Frost, 10/20/2015 1.20 | $475.00 570.00 $390.00 $468.00] Review and revise proofs of draft reply brief (1.2);

Elisabeth C.

Hamilton, 10/20/2015 2.20 | $620.00 1,364.00 $575.00 $1,265.00] Review and revise draft reply brief on standing

Kevin J. (1.5); review Intervenors briefing regarding same
(.5); exchange related email (.2);

Frost, 10/21/2015 0.50 | $475.00 237.50 $390.00 $195.00]Review state’s reply regarding standing issue (.1);

Elisabeth C. review appellant’s reply regarding standing issue
(.3); email to M. Elias, J. Devaney, K. Hamilton and
B. Stafford regarding state’s and appellant's reply
briefs (.1);

Hamilton, 10/21/2015 0.50 | $620.00 310.00 $575.00 $287.50|Exchange email regarding supplemental briefing on

Kevin J. standing;

Hamilton, 10/22/2015 1.00 | $620.00 620.00 $575.00 $575.00|Exchange email regarding reply briefs on standing

Kevin J. and related issues;

Hamilton, 10/26/2015 1,20 | $620.00 744.00 $575.00 $690.00) Review order on remedial hearing and related

Kevin J. matters (.5); exchange email with legal team
regarding same (.5); exchange email with J.
Devaney regarding staffing for final hearing (.2);

 

 

 

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(Wittman v. Personhuballah)

      

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Review remedial briefs (.4); exchange email

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$575.00 $345.00
Kevin J. regarding Handley polarized voting analysis (.2);
Khanna, 10/29/2015 0.20 | $500.00 100.00 $410.00 $82.00]Email and confer with B. Stafford regarding
Abha remedial briefing strategy (0.2);
Stafford, 10/29/2015 2.30 | $495.00 1,138.50 $405.00 $931.50]Research and draft position statement on Special
William B. Master's consideration of L. Handley report;
Hamilton, 10/3/2015 1.50 | $620.00 930.00 $575.00 $862.50] Review and revise draft brief regarding remedial
Kevin J. maps (1.1); exchange email with M. Elias regarding
same (.4);
Stafford, 10/3/2015 0.30 | $495.00 148,50 $405.00 $121.50]Incorporate M. Elias revisions to memorandum
William B. regarding other remedial plans;
Hamilton, 10/30/2015 0.20 | $620.00 124.00 $575.00 $115.00|Review and respond to email regarding
Kevin J. supplemental briefing;
Khanna, 10/30/2015 0.20 | $500.00 100.00 $410.00 $82.00]Review and revise position statement on Handley
Abha RPV analysis;
Hamilton, 10/5/2015 1.10 | $620.00 682.00 $575.00 $632.50|Review and revise draft reply regarding alternative
Kevin J. remedial maps (.8); conference with B. Stafford
regarding same (.3);
Stafford, 10/5/2015 2.00 | $495.00 990.00 $405.00 $810.00] Revise memorandum responding to other parties'
William B. proposed remedial districting plans;
Frost, 10/6/2015 8.30 | $475.00 3,942.50 $390.00 $3,237.00] Review prior research on standing issue (1.7);
Elisabeth C. telephone calls with B. Stafford regarding litigation
strategy (.4); draft standing brief (6.2);
Hamilton, 10/6/2015 1,30 | $620.00 806.00 $575.00 $747.50|Review reply brief regarding remedial plan (.5);
Kevin J. conference with B, Stafford regarding same (.3);
review orders issue by court (.3); review related
third party filings (.2);
Stafford, 10/6/2015 0.40 | $495.00 198.00 $405.00 $162.00|Conference with E. Frost regarding supplemental
William B. brief on standing;
Frost, 10/7/2015 6.40 | $475.00 3,040.00 $390.00 $2,496.00|Research in support of standing brief (3.4); draft
Elisabeth C. standing brief (2.9); revise standing brief (.1);
Hamilton, 10/7/2015 1.30 | $620.00 806.00 $575.00 $747.50]Review draft supreme court brief on jurisdictional
Kevin J. issues;

 

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Stafford,

 
   

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(Wittman v. Personhuballah)

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Appendix A

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Review briefing by other parties non-parties.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10/7/201 3.30

William B. regarding remedial plans and prepare summaries
of same for K. Hamilton and M. Elias (1.8); finalize
memorandum responding to other parties' and non
parties' remedial plans (1.5);

Devaney, 10/8/2015 0.50 | $585.00 292.50 $575.00 $287.50|Review draft for Supreme Court Case;

John M.

Frost, 10/8/2015 1.30 | $475.00 617.50 $390.00 $507.00|Revise supplemental brief on standing (1.0); emails

Elisabeth C. with printer regarding formatting and preparing
brief for service and filing (.2); emails with K.
Hamilton, M. Elias, J. Devaney and B. Stafford
regarding supplemental brief on standing (.1);

Stafford, 10/8/2015 1.10 | $495.00 544.50 $405.00 $445.50|Review submissions of non-parties regarding

William B. remedial phase of case and draft summary of same
for K. Hamilton and M. Elias (.6); exchange
correspondence with M. Elias and K. Hamilton
regarding same (.2); review and revise Supreme
Court brief on standing and exchange
correspondence with E. Frost regarding same (.3);

Frost, 10/9/2015 2.50 | $475.00 1,187.50 $390.00 $975.00|Review and revise proof of standing brief (2.4);

Elisabeth C. telephone call to Supreme Court clerk's office
regarding certification question (.1);

Hamilton, 10/9/2015 0.70 | $620.00 434.00 $575.00 $402.50|Exchange email regarding amicus request for

Kevin J. consent;

Hamilton, 11/1/2015 0.30 | $620.00 186.00 $575.00 $172.50] Exchange email regarding supreme court

Kevin J. jurisdictional statement;

Hamilton, 11/10/2015 0.90 | $620.00 558.00 $575.00 $517.50] Follow up on remedial plan issues (.3); review

Kevin J. schedule and conference with B. Stafford regarding
remedial map (.4); exchange email with J. Devaney
regarding final hearing (.2);

Hamilton, 11/11/2015 0.50 | $620.00 310.00 $575.00 $287.50] Review briefing regarding remedial maps;

Kevin J.

Frost, 11/12/2015 0.20 | $475.00 95.00 $390.00 $78.00] Emails with B. Stafford and A. Khanna regarding

Elisabeth C. SCOTUS relist of appeal (.2);

Hamilton, 11/12/2015 0.90 | $620.00 558.00 $575.00 $517.50|Exchange email with J. Devaney regarding coverage

Kevin J. of final hearing and likely issues to be addressed in
final remedial hearing (.5); conference with B.
Stafford regarding same (.4);

 

 

 

 

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Devaney, 11/13/2015 0.50 | $585.00 $575.00 $287.50|Telephone conference re VA Congressional

 

John M. Redistricting strategy;
Elias, Marc E.|11/13/2015 2.00 | $735.00 1,470.00 $575.00 $1,150.00] Review SCOTUS action; telephone conference and

email regarding same;

 

Frost, 11/13/2015 0.70 | $475.00 332.50 $390.00 $273.00]Meet with M. Elias regarding Supreme Court
Elisabeth C. strategy (.1); emails with litigation team regarding
Supreme Court strategy (.1); meet with M. Elias
regarding litigation strategy (.5);

 

Hamilton, 11/13/2015 3.50 | $620.00 2,170.00 $575.00 $2,012.50] Review order noting probable jurisdiction (.3);
Kevin J. conference with A. Khanna and B. Stafford
regarding same (1.5); exchange related email (.7);
conference with M. Elias regarding argument,
staffing and related issues (.5); review briefing

 

schedule (.5);
Khanna, 11/13/2015 0.20 | $500.00 100.00 $410.00 $82.00|Review SCOTUS ruling setting hearing on merits
Abha (.1); email and confer with legal team regarding

same and next steps (.1);

 

 

Hamilton, 11/14/2015 0.50 | $620.00 310.00 $575.00 $287.50] Exchange email regarding staffing for merits
Kevin J. briefing before supreme court;
Elias, Marc E.| 11/15/2015 1.50 | $735.00 1,102.50 $575.00 $862.50| Telephone conference with K. Hamilton, B.

Stafford, J. Devaney, A. Khanna, E. Frost regarding
staffing strategy (.6); review materials (.9);

 

Frost, 11/15/2015 0.70 | $475.00 332.50 $390.00 $273.00|Telephone call with M. Elias, K. Hamilton, J.
Elisabeth C. Devaney, B. Stafford, A. Khanna and A. Branch
regarding litigation strategy (.6); email from K.
Hamilton regarding conversation with state’s
attorney (.1);

Hamilton, 11/15/2015 3.00 | $620.00 1,860.00 $575.00 $1,725.00] Prepare for and participate in call on preparations
Kevin J, for supreme court merits briefing and argument
(1.0); review and respond to related email
regarding briefing (.5); telephone conference
regarding potential motion to stay and related
issues (.6); report to legal team regarding same
(.3); collect case materials for review prior to
argument (.6);

 

 

 

Khanna, 11/15/2015 1.10 | $500.00 550.00 $410.00 $451.00]Prepare for and participate in conference call over

Abha remedial map, Supreme Court briefing, and next
steps;

Marino, 11/15/2015 2.20 | $220.00 484.00 $220.00 $484.00] Respond to attorney request for

Patricia information/documents (.2); compile/organize

selected case background materials for attorneys’
further review in preparation of Supreme Court
hearing/argument (2.0);

 

 

 

 

 

 

 

 

 

 

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(Wittman v. Personhuballah)
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Prepare for and participate in conference call to

 

 

 

 

 

 

 

 

 

 

11 $495.00 1,089.00

William B. discuss strategy in light of Supreme Court review
(1.1); research and prepare outline of position on
motion to stay (1.1);

Elias, Marc E. | 11/16/2015 1.50 | $735.00 1,102.50 $575.00 $862.50|Team meeting with E. Frost, R. Louijeune, K.
Buckley, L. Bull regarding assembling background
materials (1.3); reviews same (.2);

Frost, 11/16/2015 2.70 | $475.00 1,282.50 $390.00 $1,053.00|Review media regarding case (.2); meet with M.

Elisabeth C. Elias, R. Louijeune and K. Buckley regarding
preparing for SCOTUS argument (1.3); emails with
M. Elias and A. Khanna regarding litigation strategy
(.2); meet with R. Louijeune regarding preparing for
SCOTUS argument (1.0);

Hamilton, 11/16/2015 1.90 | $620.00 1,178.00 $575.00 $1,092.50]Review and respond to email regarding remedial

Kevin J. maps and absence of email from special master
and potential implications of the same (.9);
exchange email regarding timing of merits briefing
(1.0);

Khanna, 11/16/2015 0.30 | $500.00 150.00 $410.00 $123.00]Review outline of argument against stay (.2); email

Abha with legal team regarding same {.1);

Louijeune, {11/16/2015 1.60 | $320.00 512.00 $320.00 $512.00|Review and research standing issues in case and

Ruthzee find relevant Supreme Court cases;

Marino, 11/16/2015 0.80 | $220.00 176,00 $220.00 $176.00]Respond to attorney request for

Patricia information/documents (.2); compile/organize
selected case background materials for attorneys'
further review in preparation of Supreme Court
hearing/argument {.6);

Stafford, 11/16/2015 1.90 | $495.00 940.50 $405.00 $769.50]Research and draft opposition to motion to stay;

William B.

Frost, 11/17/2015 1.10 | $475.00 522.50 $390.00 $429.00|Review special master opinion (.5); emails with A.

Elisabeth C. Branch and A. Khanna regarding plaintiff contact
information (.1); emails with B. Stafford regarding
standing issue (.2); email from B. Stafford regarding
special master opinion (.2); emails with K. Hamilton
and A. Branch regarding emails to plaintiffs (.1);

Hamilton, {11/17/2015 3.00 | $620.00 1,860.00 $575.00 $1,725.00] Review and exchange email regarding special

Kevin J. master’s proposed remedial maps (2.2);
conference with B. Stafford regarding proposed
briefing regarding same (.3); exchange email
regarding analysis of proposed map (.5);

 

 

 

 

 

 

 

 

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Khanna, 11/17/2015 1.00 | $500.00 500.00 $410.00 $410. elephone conference with M. Elias and K.
Abha Hamilton regarding remedial map {.4); email with
legal team and opposing counsel regarding same
(.1); review summary of Special Master's report
(.2); email and confer with B. Stafford and
consulting expert regarding same (.2);

   

 

Marino, 11/17/2015 4.50 | $220.00 990.00 $220.00 $990.00]Respond to attorneys’ request for

Patricia information/documents (.3); compile/organize
selected case background materials for attorneys’
further review in preparation of Supreme Court

 

hearing/argument (4.2);
Stafford, 11/17/2015 3.50 | $495.00 1,732.50 $405.00 $1,417.50|Review special master final report and draft
William B. analysis and outline of position statement

regarding same;

 

 

 

 

 

 

 

Frost, 11/18/2015 0.10 | $475.00 47.50 $390.00 $39.00|Review and revise email to plaintiffs regarding

Elisabeth C. status of litigation (.1);

Hamilton, 11/18/2015 1.90 | $620.00 1,178.00 $575.00 $1,092.50|Review proposed remedial map and related emails

Kevin J. (.9); review order from the court (.4); conference
with B. Stafford regarding implications and strategy
(.6);

Khanna, 11/18/2015 0.30 | $500.00 150.00 $410.00 $123.00] Email and confer with B. Stafford regarding briefing

Abha on jurisdictional issue in response to motion to
stay;

Stafford, 11/18/2015 1.80 | $495.00 891.00 $405.00 $729.00] Draft opposition to motion for stay;

William B.

Frost, 11/19/2015 0.20 | $475.00 95.00 $390.00 $78.00|Review media regarding special master's proposed

Elisabeth C. maps (.2);

Hamilton, 11/19/2015 0.40 | $620.00 248.00 $575.00 $230.00|Conference with B. Stafford regarding remedial

Kevin J. map alternatives and related briefing;

Khanna, 11/19/2015 3.00 | $500.00 1,500.00 $410.00 $1,230.00] Research case law on jurisdictional issue with

Abha respect to motion to stay (1.4); email and confer

with B, Stafford regarding same (.3); confer with B.
Stafford regarding response to Special Master's
map and potential arguments for same (.4); review
and revise draft statement of position regarding
Special Master's report (.6); email with B. Stafford
regarding same (.3);

 

Stafford, 11/19/2015 8.10 | $495.00 4,009.50 $405.00 $3,280.50|Research and draft statement of position regarding
William B. special master report (6.8); research and draft
opposition to motion to stay (1.3);

 

 

 

 

 

 

 

 

 

 

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Hamilton,

11/20/2015

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Appendix A

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raft and finalize letter regarding jurisdictional

  

 

 

 

 

 

 

 

 

 

 

 

 

Kevin J. statement and related timing issues (.7); review
filing arrangements for jurisdictional statement
(.2); conference with B. Stafford and A. Khanna
regarding same (.4);

Louijeune, {11/20/2015 5.50 | $320.00 1,760.00 $320.00 $1,760.00] Work on research for Wittman v. Personhuballah

Ruthzee standing inquiry;

Stafford, 11/20/2015 5.00 | $495.00 2,475.00 $405.00 $2,025.00] Research and draft position statement regarding

William B. special master's final report (1.5); research and
draft opposition to motion to stay (3.5);

Frost, 11/23/2015 0.10 | $475.00 47.50 $390.00 $39.00|Telephone call with R. Louijeune regarding

Elisabeth C. standing research (.1);

Hamilton, 11/23/2015 1,50] $620.00 930.00 $575.00 $862,.50|Review proposed remedial map and related reports

Kevin J. (.6); review and revise draft brief regarding
remedial map (.9);

Louijeune, |11/23/2015 10.30} $320.00 3,296.00 $320.00 $3,296.00] Work on research for Wittman v. Personhuballah

Ruthzee standing inquiry;

Marino, 11/23/2015 1,00 | $220.00 220.00 $220.00 $220.00]Respond to attorneys' request for

Patricia information/documents (.3); compile/update
litigation team background resources for attorneys’
further review in preparation of Supreme Court
hearing/argument (.7);

Stafford, 11/23/2015 0.20 | $495.00 99.00 $405.00 $81.00|Correspondence with K, Hamilton regarding

William B. finalization of statement of position regarding
special master report;

Hamilton, 11/24/2015 1.50 | $620.00 930.00 $575.00 $862.50|Review and revise brief on remedial maps (.5);

Kevin J. review memoranda from intervenors and other
parties on remedial maps (1.0);

Louijeune, |11/24/2015 3.80 | $320.00 1,216.00 $320.00 $1,216.00] Research standing inquiry for memo;

Ruthzee

Stafford, 11/24/2015 0.90 | $495.00 445.50 $405.00 $364,50|Correspondence with K. Hamilton regarding joint

William B. appendix on appeal (.2); review other parties’
submissions regarding Special Master Report (.7);

Frost, 11/25/2015 0.70 | $475.00 332.50 $390.00 $273,00|Meet with R, Louijeune regarding preparing M.

Elisabeth C. Elias for standing argument (.7);

 

 

 

 

 

 

 

 

 

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11/25/2015

3.50

$620.00

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Hamilton, 2,170.00 $5 5.0 ,012.50]Telephone conference regarding coordination of

Kevin J. briefing, contact with solicitor general's office, and
related issues (.9); conference with M. Elias
regarding same (.6); conference with B. Stafford
regarding reply regarding remedial maps (.9);
review briefing regarding remedial maps (1.1);

Khanna, 11/25/2015 0.20 | $500.00 100.00 $410.00 $82.00]Email with legal team regarding remedy briefing;

Abha

Louijeune, |11/25/2015 0.70 | $320.00 224.00 $320.00 $224.00] Research standing inquiry for Wittman v.

Ruthzee Personhubbalah;

Stafford, 11/25/2015 0.20 | $495.00 99.00 $405.00 $81.00|Correspondence with K. Hamilton regarding special

William B. master report;

Stafford, 11/26/2015 4.40 | $495.00 2,178.00 $405.00 $1,782.00] Research and draft opposition to motion to stay;

William B.

Hamilton, 11/27/2015 2.40 | $620.00 1,488.00 $575.00 $1,380.00] Review briefing on remedial maps and exchange

Kevin J. related email (1.1); review briefing on motion to
stay (1.3);

Khanna, 11/27/2015 2.40 | $500.00 1,200.00 $410,00 $984.00] Review Intervenors’ Motion for Stay Pending

Abha Appeal (0.6); review and revise draft opposition
(1.8);

Stafford, 11/28/2015 4.20 | $495.00 2,079.00 $405.00 $1,701,00/Revise opposition to motion to stay (1.5); research

William B. and draft memorandum in response to other
submissions on special master report (2.7);

Hamilton, 11/29/2015 3.20 | $620.00 1,984.00 $575.00 $1,840.00] Prepare for and telephone conference with B.

Kevin J. Stafford regarding briefing on remedial order (.9);
review and revise draft response to motion to stay
(1.5); exchange email regarding remedial brief (.4);
exchange email regarding brief on motion to stay
(.4);

Marino, 11/29/2015 2.00 | $220.00 440.00 $220.00 $440.00)Respond to attorney B. Stafford request for

Patricia information/documents (.4); review/search case
materials/litigation file regarding Reock score issue
(1.6);

Stafford, 11/29/2015 6.50 | $495.00 3,217.50 $405.00 $2,632.50] Participate in telephone conference with K.

William B. Hamilton regarding special master report (1.0);
research and draft memorandum regarding other
parties' submissions regarding special master
report (5.0); revise opposition to motion to stay
(.5);

Hamilton, 11/3/2015 1.40 | $620.00 868.00 $575.00 $805.00|Review Handley racially polarized voting analysis

Kevin J. (.8); conference with B. Stafford regarding same
(.2); review order on potential depositions and
related timing (.1); review draft brief regarding
same (.3);

 

 

 

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Stafford,

11/3/2015

 
   

0.30

$495.00

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$405.00

$121.50

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Research and draft statement of position on L.

 

 

 

 

 

 

 

 

 

 

 

William B. Handley report;

Hamilton, 11/30/2015 2.90 | $620.00 1,798.00 $575.00 $1,667.50| Review and revise draft brief regarding motion to

Kevin J. stay implementation of remedial plan (1.3);
conference with B. Stafford regarding same (.4);
review briefs on motion to stay submitted by other
parties (.8); exchange email with M. Elias regarding
oral argument and coordination of amici briefs (.4);

Marino, 11/30/2015 0.60 | $220.00 132.00 $220.00 $132.00]Respond to attorney requests for

Patricia information/documents (.2); review/search
litigation file and court docket (.4);

Stafford, 11/30/2015 7.60 | $495.00 3,762.00 $405.00 $3,078.00] Revise, finalize, and coordinate filing of opposition

William B. to motion to stay (1.3); research and draft
response to other parties’ submissions regarding
special master report (6.3);

Frost, 11/5/2015 0.40 | $475.00 190.00 $390.00 $156.00]Review relevant section of argument in Shapiro for

Elisabeth C, purposes of supreme court appeal and email M.
Elias, K. Hamilton, J. Devaney and B. Stafford
relevant excerpts (.4);

Hamilton, 11/5/2015 0.70 | $620.00 434.00 $575.00 $402.50|Review status; review draft brief on polarized

Kevin J. voting study (.5); conference with B. Stafford
regarding same (.2);

Hamilton, 11/6/2015 1.50} $620.00 930.00 $575.00 $862.50/Review transcript of supreme court argument for

Kevin J. potential implications of three-judge court appeals
(.8); exchange related email with L. Frost (.4);
review standing briefing (.3);

Hamilton, 11/9/2015 1.60 | $620.00 992.00 $575.00 $920.00) Review final version of brief with respect to use of

Kevin J. polarized voting study (.5); review filings from
defendants (.5); conference with team regarding
same (.6);

Stafford, 11/9/2015 0.50 | $495.00 247.50 $405.00 $202.50] Finalize and coordinate filing of statement of

William B. position on Handley report (.2); review and provide
analysis of other parties’ statements of position
(.3);

Hamilton, 12/1/2015 5.20 | $620.00 3,224.00 $575.00 $2,990.00] Review potential items for Joint Appendix (2.7);

Kevin J. conference with B. Stafford regarding same (.4);
review and revise draft brief on remedial maps
(1.5); review briefing regarding remedial map
briefing (.6);

Marino, 12/1/2015 4.70 | $220.00 1,034.00 $220.00 $1,034.00] Respond to attorneys' request for

Patricia information/documents (.5); compile/organize trial

 

 

 

 

 

 

 

exhibits for B. Stafford's review (2.0); draft/update
index (1.5); coordinate file of exhibit materials to
Virginia Solicitor General's office (.7);

 

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Stafford, 12/1/2015 $495.00 "$405.00 $729.00] Finalize brief responding to other parties!

William B, submissions regarding special master report;

Devaney, 12/10/2015 1.50} $585.00 877.50 $575.00 $862.50) Prepare for oral argument (1.0); telephone

John M. conference to prepare for argument (.5);

Elias, Marc E.|12/10/2015 0.50 | $735.00 367.50 $575.00 $287.50] Teleconference with E. Frost, NAACP
representatives regarding amicus briefs;

Frost, 12/10/2015 0.60 | $475.00 285.00 $390.00 $234.00|Prepare for call with LDF regarding amicus brief

Elisabeth C. (.1); call with LDF counsel and M. Elias regarding
amicus briefs (.5);

Hamilton, 12/10/2015 1.90 | $620.00 1,178.00 $575.00 $1,092.50] Review materials regarding remedial maps (.4);

Kevin J. prepare for and participate in prep session with J,
Devaney (1.5);

Khanna, 12/10/2015 3.50 | $500.00 1,750.00 $410.00 $1,435.00] Prepare for moot on stay and remedial map (1.5);

Abha confer with B. Stafford regarding same (.5); attend
meeting with J. Devaney, K. Hamilton, and B.
Stafford regarding oral argument moot and
preparation (1.5);

Stafford, 12/10/2015 5.50 | $495.00 2,722.50 $405.00 $2,227.50] Prepare for and participate in oral argument

William B. strategy session (4.0); prepare materials for J.
Devaney (1.5);

Elias, Marc E.]12/11/2015 2.50 | $735.00 1,837.50 $575.00 $1,437.50] Prepare for and attend meeting with Department
of Justice;

Frost, 12/11/2015 2.60 | $475.00 1,235.00 $390.00 $1,014.00] Meet with M. Elias regarding litigation strategy (.2);

Elisabeth C. email to A. Khanna regarding litigation strategy (.1);
review standing arguments (.3); meet with Solicitor
General’s office (1.4); emails with M. Elias and R.
Louijeune regarding materials for Solicitor
General’s office (.6);

Hamilton, 12/11/2015 1.50 | $620.00 930.00 $575.00 $862.50|Prepare for and attend preparation session with J.

Kevin J. Devaney (1.4); review related email (.1);

Khanna, 12/11/2015 2.20 | $500.00 1,100.00 $410.00 $902.00]Review Special Master's follow-up submission (.4);

Abha prepare binder of opinions and relevant cases for J.
Devaney oral argument preparation (1.3); review
and revise bullet point outline for oral argument
preparation (.4); email and confer with 8. Stafford
regarding same (.1);

Louijeune, [12/11/2015 5.00 | $320.00 1,600.00 $320.00 $1,600.00] Write Memo on standing (2.5); Pull materials and

Ruthzee research law for SG (2.5);

 

 

 

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Stafford, 12/11/2015 : "$495.00 ; ; ; Review an prepare analysis of special master
William B. supplemental report;

Devaney, 12/12/2015 2.00 | $585.00 1,170.00 $575.00 $1,150.00|Telephone conferences, emails, and meetings to
John M. address various management issues;

Devaney, 12/13/2015 5.00 | $585.00 2,925.00 $575.00 $2,875.00|Prepare for oral argument on Motion to Stay;

John M.

Frost, 12/13/2015 1.50 | $475.00 712.50 $390.00 $585.00/Review relevant evidence (.9); draft cover email to
Elisabeth C. SG’s office enclosing requested materials (.6);
Devaney, 12/14/2015 8.00 | $585.00 4,680.00 $575.00 $4,600:00] Prepare for and attend oral! argument on motion to
John M. stay (4.0); travel to/from argument (4.0);

Frost, 12/14/2015 0.70 | $475.00 332.50 $390.00 $273.00] Draft email to SG attaching requested material (.4);
Elisabeth C. email SG attaching requested material (.1); email

from J. Devaney regarding hearing regarding maps
(.1); emails with B. Stafford, M. Elias, J. Devaney
and K. Hamilton regarding litigation strategy (.1);

 

 

Hamilton, 12/14/2015 0.80 | $620.00 496.00 $575.00 $460.00}Review and respond to email from J. Devaney
Kevin J. regarding remedial hearing;

Khanna, 12/14/2015 0.60 | $500.00 300.00 $410.00 $246.00] Email with legal team regarding hearing today (.3);
Abha review news article regarding same (.1); confer

with B. Stafford regarding same and next steps in
Supreme Court (.2);

 

 

 

 

Louijeune, [12/14/2015 2.00 | $320.00 640.00 $320.00 $640.00] Pull and highlight edited evidence for review by

Ruthzee Solicitor General;

Stafford, 12/14/2015 0.90 | $495.00 445.50 $405.00 $364.50| Exchange correspondence regarding hearing and

William B. potential strategic approach for different outcomes
of hearing;

Frost, 12/15/2015 0.10 | $475.00 47.50 $390.00 $39.00] Emails from B. Stafford regarding litigation

Elisabeth C. strategy;

Khanna, 12/15/2015 0.20 | $500.00 100.00 $410.00 $82.00)Review special master's new submission and

Abha court's order regarding same (.1); email and confer

with legal team regarding same (.1);

 

Stafford, 12/15/2015 0.60 | $495.00 297.00 $405.00 $243.00] Review special master supplemental report and
William B. outline proposed response to same;

 

 

 

 

 

 

 

 

 

 

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Khanna, 12/16/2015 0.50 | $500.00 250.00 $410.00 $205.00] Review expert report regarding liability alternative
Abha plan and confer with B. Stafford regarding same in
reference to response to special master's
supplemental! submission (0.2); draft language
regarding same (0.1); review and revise draft
submission (0.2);

      

 

 

 

 

 

Stafford, 12/16/2015 2.10 | $495.00 1,039.50 $405.00 $850,50|Research and draft response to Special Master
William B. Supplemental Report;

Hamilton, 12/18/2015 0.50 | $620.00 310.00 $575.00 $287.50|Review and respond to email regarding amici
Kevin J. coordination;

Louijeune, 12/18/2015 2,00 | $320.00 640.00 $320.00 $640.00] Write Standing Memo (2.0);

Ruthzee

Spiva, Bruce |12/19/2015 0.40 | $600.00 240.00 $575.00 $230.00] Correspond with M. Elias and K. Hamilton

Vv. regarding G. Hebert's offer regarding amicus brief;
Hamilton, 12/2/2015 4.90 | $620.00 3,038.00 $575.00 $2,817.50] Review potential additions to joint appendix (2.5);
Kevin J. conference with B. Stafford regarding same (.4);

review and respond to email regarding Joint
Appendix (.8); review briefing on remedial maps

 

(1.2);
Khanna, 12/2/2015 1.10 | $500.00 550.00 $410.00 $451.00|Confer with J, Devaney regarding December 14
Abha hearing (0.2); email and confer with B. Stafford

regarding same (0.3); review emails regarding S.
Ansolabehere article in preparation for SCOTUS
argument (0.3); review remedial briefing (0.3);

 

Marino, 12/2/2015 4.90 | $220.00 1,078.00 $220.00 $1,078.00] Respond to attorneys’ request for

Patricia information/documents (1.1); review PTS
network/repository of document production
material and Concordance databases (.9); draft
production index for attorney review in connection
with objections to subpoena (2.9);

 

Stafford, 12/2/2015 2.40 | $495.00 1,188.00 $405.00 $972.00|Review State's designations for joint appendix and
William B. conference with S. Raphael and K. Hamilton
regarding same (.7); prepare list of additional
designations for joint appendix (1.7);

 

 

Hamilton, 12/21/2015 0.60 | $620.00 372.00 $575.00 $345,00|Review and respond to email regarding briefing in
Kevin J. supreme court and preparation for argument (.6);
Louijeune, [12/21/2015 0.50 | $320.00 160.00 $320.00 $160.00}Write Memo on standing (0.5);

Ruthzee

 

 

 

 

 

 

 

 

 

 

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rding preparation

Review and respond to email rega

   

12/22/2015 50| $620.00 | $575.00 $287.50

 
   

Hamilton,

 

 

Kevin J. for oral argument;

Frost, 12/23/2015 0.10 | $475.00 47,50 $390.00 $39,.00|Emails from B. Spiva, M. Elias and K. Hamilton
Elisabeth C. regarding amicus briefs (.1);

Hamilton, 12/23/2015 1.80 | $620.00 1,116.00 $575.00 $1,035.00]Review merits briefing (.9); conference with A.
Kevin J. Khanna and B. Stafford regarding same (.5); review

and respond to related email (.4);

 

 

 

 

 

 

 

Hamilton, 12/23/2015 0.10 | $620.00 62.00 $575.00 $57.50|Review and respond to email regarding preparation
Kevin J. for oral argument;

Louijeune, 12/23/2015 3.40 | $320.00 1,088.00 $320.00 $1,088.00] Write Memo on standing (3.4);

Ruthzee

Spiva, Bruce |12/23/2015 0.60 | $600.00 360.00 $575.00 $345.00|Telephone conference with G. Hebert regarding

Vv. Amicus Briefs;

Spiva, Bruce |12/23/2015 0.40 | $600.00 240.00 $575.00 $230.00|Correspond with K. Hamilton and M. Elias with

Vv. update on same;

Hamilton, 12/28/2015 1.00 | $620.00 620.00 $575.00 $575.00|Review and respond to email regarding preparation
Kevin J. for argument and related issues;

Hamilton, 12/3/2015 2.20 | $620.00 1,364.00 $575.00 $1,265.00] Finalize review of Joint Appendix items (1.9);

Kevin J. conference with B. Stafford regarding same (.3);
Khanna, 12/3/2015 0.60 | $500.00 300.00 $410.00 $246.00|Research and compile list of Supreme Court

Abha elections-related cases and oral argument

transcripts for M. Elias in preparation for Wittman
oral argument;

Marino, 12/3/2015 2.30 | $220.00 506.00 $220.00 $506.00/Respond to attorneys' request for

Patricia information/documents (.5); conference with E.
Gonzalez regarding supplemental document
productions (.3); review file and update index (1.3);
emails with litigation team regarding same (.2);

 

 

Stafford, 12/3/2015 1,10 | $495.00 544.50 $405.00 $445.50]Finalize proposed additions to joint appendix and
William B. exchange correspondence with S. Raphael and K.
Hamilton regarding same;

 

Hamilton, 12/4/2015 1.00 | $620.00 620.00 $575.00 $575,00|Review email on Joint Appendix (.3); review order
Kevin J. from the court on December 14 hearing (.2);
exchange email regarding preparation for hearing
(.5);

 

 

 

 

 

 

 

 

 

 

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Khanna, 12/4/2015 0.20 $500. i a $410.00 $82.00]Email with legal team regarding Decem

 

 

Abha argument (.1); email with legal team regarding
United States' participation in SCOTUS argument
(.1);

Hamilton, 12/7/2015 0.90 | $620.00 558.00 $575.00 $517.50] Review reply brief from Intervenors on motion to

Kevin J. stay remedial order;

Khanna, 12/7/2015 1.90 | $500.00 950.00 $410.00 $779.00] Research and summarize elections-related cases in

Abha preparation for oral argument (1.5); find and attach

oral argument transcripts and audio files (.4);

 

Khanna, 12/8/2015 0.50 | $500.00 250.00 $410.00 $205.00] Research and review elections-related cases in
Abha preparation for oral argument (.3); draft email
summary of same (.2);

 

 

Khanna, 12/9/2015 3.50 | $500.00 1,750.00 $410.00 $1,435.00] Review stay pleadings, special master's report, and

Abha responsive briefs in preparation for moot of J.
Devaney (2.8); confer with B. Stafford regarding
same (.7);

Stafford, 12/9/2015 3.10 | $495.00 1,534.50 $405.00 $1,255.50|Conference with A. Khanna regarding moot court

William B. for December 14 oral argument (.7); conduct

research in light of other parties' submisstons to
prepare for oral argument (2.4);

 

 

 

Elias, Marc E,} 2/1/2016 0.50 | $765.00 382.50 $605.00 $302.50]Review standing memo in preparation for
argument;

Elias, Marc E.| 2/1/2016 0.20 | $765.00 153.00 $605.00 $121.00] Email correspondence with A. Khanna regarding
arguments;

Elias, MarcE.| 2/1/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with D. Bernstein, E. Frost,

K. Hamilton regarding moot court information

 

Frost, 2/1/2016 0.20 | $520.00 104,00 $435.00 $87.00]Emails with M. Elias, A. Khanna and R. Louijeune
Elisabeth C. regarding standing hypotheticals in preparation for
Supreme Court argument {.2);

 

Hamilton, 2/1/2016 3.90 | $655.00 2,554,50 $605.00 $2,359.50] Exchange email with M. Elias regarding moot
Kevin J. courts (.4); exchange email regarding collection of
materials for moots and argument (.7);

 

Khanna, 2/1/2016 6.10 | $525.00 3,202.50 $435.00 $2,653.50/Email with M. Elias, E. Frost, and R. Louijuene
Abha regarding questions in preparation for oral
argument (2.5); review standing memo by R.
Louljuene (1.2); review article on intervenor-
defendant standing forwarded by R. Louijuene
(1.8); email with K. Hamilton regarding potential
judges for oral argument moots (0.2); review and
email/confer with legal team regarding order
denying stay application (0.4);

 

 

 

 

 

 

 

 

 

 

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i memo (1.0); Conduct additional research re:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Louijeune, 2/1/2016 2.30 | $320.00 736.00 $320. S

Ruthzee federalism argument (0.5); read additional case law
and law review articles for standing arguments
(0.8);

Frost, 2/10/2016 0.60 | $520.00 312,00 $435.00 $261.00|Emails with A. Khanna and A. Branch regarding

Elisabeth C. litigation strategy regarding new information from
DOJ FOIA request (.1); review and revise memo
regarding evolution of gerrymandering cases in
preparation for Supreme Court argument (.5);

Khanna, 2/10/2016 0.10 | $525.00 52.50 $435.00 $43.50|Confer with E. Frost regarding moot schedule;

Abha

Elias, Marc E.| 2/11/2016 0.50 | $765.00 382.50 $605.00 $302.50] Weekly Wittman preparation teleconference with
E, Frost, A. Khanna, R. Louijeune;

Frost, 2/11/2016 0.80 | $520.00 416.00 $435.00 $348,00|Meet with R. Louijuene regarding preparation for

Elisabeth C. oral argument (.1); meet with M. Elias, A. Khanna
and R. Louijeune regarding preparation for oral
argument (.7);

Hamilton, 2/11/2016 0.80 | $655.00 524.00 $605.00 $484.00]Review and respond to email regarding collecting

Kevin J. and organizing material in preparation for
argument;

Khanna, 2/11/2016 0.90 | $525.00 472.50 $435.00 $391.50|Review memorandum from R. Louijeune regarding

Abha history of racial gerrymandering claims (0.4);
telephone conference with M. Elias, E. Frost, and R.
Louijeune regarding oral argument preparation
(0.5)

Louijeune, 2/11/2016 1.30 | $320.00 416.00 $320.00 $416.00] Assemble amici and party briefs (.5); Attend weekly

Ruthzee meeting (.8);

Hamilton, 2/12/2016 0.90 | $655.00 589.50 $605.00 $544.50/Review and respond to email regarding collection

Kevin J. of materials for argument (.2); review compiled
merits briefing (.7);

Khanna, 2/15/2016 2.50 | $525.00 1,312.50 $435.00 $1,087.50|Review and draft memo summarizing amicus briefs

Abha in preparation for ora! argument (2.5);

Khanna, 2/16/2016 0.50 | $525.00 262.50 $435.00 $217,.50|Confer with R. Spear regarding notice of

Abha supplemental authority in this case and related
Bethune case (0.1); email with legal team regarding
same (0.1); review NAACP amicus brief (0.3);

Elias, Marc E.| 2/17/2016 0.20 | $765.00 153.00 $605.00 $121.00] Email correspondence with A. Khanna, K. Hamilton,
R. Spear, B. Stafford regarding supplemental
authority;

Frost, 2/18/2016 0.20 | $520.00 104.00 $435.00 $87.00]Email from R. Louijeune regarding standing

Elisabeth C. argument (.1); emails with R. Louijeune regarding
preparing for oral argument (.1);

 

 

 

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Louijeune, 2/18/2016 1.00 | $320.00 320.00 $320.00 $320.00|Research whether Appellants could argue that they
Ruthzee have competitive standing to bring suit;

Louijeune, 2/19/2016 0.90 | $320.00 288.00 $320.00 $288.00|Compile missing copies of briefs (.5); Order missing

Ruthzee copies of briefs (.2); Read Texas/Alabama Amicus
Brief (.2);

Frost, 2/2/2016 0.10 | $520.00 52.00 $435.00 $43.50]/Emails with M. Elias regarding preparing for

Elisabeth C. Supreme Court oral argument (.1);

Hamilton, 2/2/2016 3.90 | $655.00 2,554.50 $605.00 §2,359.50|Coordinate scheduling and staffing for moot courts

Kevin J. (2.9); exchange related materials regarding moots
and argument (1.0);

Khanna, 2/2/2016 0.50 | $525.00 262.50 $435.00 $217.50|Review amicus brief (0.4); email with A. Riggs

Abha regarding NAACP amicus brief (0.1);

Louijeune, 2/22/2016 0.20 | $320.00 64.00 $320.00 $64.00|Organize briefs for additional printing;

Ruthzee

Hamilton, 2/23/2016 1.00 | $655.00 655.00 $605.00 $605.00] Review preparation for moot court and exchange

Kevin J. related email;

Frost, 2/24/2016 1.00 | $520.00 520.00 $435.00 $435.00] Oral argument preparation (1.0);

Elisabeth C.

Hamilton, 2/25/2016 0.60 | $655.00 393.00 $605.00 $363.00] Prepare for moot court discussions in preparation

Kevin J. for Supreme Court argument;

Khanna, 2/25/2016 0.60 | $525.00 315,00 $435.00 $261.00]Review amicus briefs (0.4); prepare memo

Abha regarding same (0.2);

Hamilton, 2/26/2016 1.20 | $655.00 786.00 $605.00 $726.00|Conference with A. Khanna and B. Stafford

Kevin J. regarding preparation for moot court (.3); review
materials and scheduling for argument preparation
(.9);

Stafford, 2/26/2016 0.30 | $495.00 148.50 $405.00 $121,50|Review and provide analysis of intervenors' reply

William B. brief for use in oral argument;

Hamilton, 2/27/2016 0.50 | $655.00 327.50 $605.00 $302.50|Follow up on moot court scheduling;

Kevin J.

Hamilton, 2/28/2016 0.50 | $655.00 327.50 $605.00 $302.50]/Exchange email regarding moot court scheduling;

Kevin J.

 

 

 

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Frost, 2/29/2016 $520.00 : , $435.00 $348.00 Prepare for oral argument (.8);

Elisabeth C.

Hamilton, 2/29/2016 0.70 | $655.00 458.50 $605.00 $423.50]Exchange email regarding schedule and timing of

Kevin J. moot court arguments for preparation for
argument;

Elias, Marc E.| 2/3/2016 0.10 | $765.00 76.50 $605.00 $60.50} Email Correspondence with E. Frost, A. Khanna, K.
Hamilton regarding briefs:

Elias, Marc E.| 2/3/2016 1.00 | $765.00 765.00 $605.00 $605.00|Review amicus briefs;

Elias, Marc E.| 2/3/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with E. Prelogar, K. Hamilton
regarding quick question for Wittman;

Elias, Marc E.| 2/3/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with K. Hamilton, J.
Devaney, A. Khanna, B. Stafford, E. Frost regarding
appellee's motion for divided argument and
enlargement of time;

Elias, Marc E.| 2/3/2016 0.10 | $765.00 -76.50 $605.00 $60.50] E-mail correspondence with K. Hamilton, J.
Devaney, A. Khanna, B. Stafford, E. Frost regarding
moots;

Elias, Marc E.| 2/3/2016 0.10 | $765.00 76.50 $605.00 $60.50]E-mail correspondence with D. Bernstein, E. Frost
regarding Moot Court invite;

Hamilton, 2/3/2016 5.60 | $655.00 3,668.00 $605.00 $3,388.00|Review merits briefing in preparation for moot

Kevin J. courts (3.9); exchange related email (.5); compile
materials for moot court (1.2);

Khanna, 2/3/2016 0.20 | $525.00 105.00 $435.00 $87.00|Confer with K. Hamilton regarding oral argument

Abha moots (.1); review docket to assemble all merits
and amicus briefs (.1);

Elias, Marc E.| 2/4/2016 0.50 | $765.00 382.50 $605.00 $302.50] Meet with L. Frost regarding Wittman preparation;

Elias, Marc E.| 2/4/2016 0.50 | $765.00 382.50 $605.00 $302.50|Weekly preparation teleconference with E. Frost,
A. Khanna. R. Louijeune;

 

 

 

 

 

 

 

 

 

 

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Frost, 2/4/2016 3.30 | $520.00 1,716.00 $435.00 $1,435.50] Review brief filed by SG’s office supporting
Elisabeth C. appellees (1.0); meet with M. Elias, A. Khanna and
R. Louijeune regarding Supreme Court argument
preparation (.8); meet with R. Louijeune regarding
Supreme Court argument preparation (.4); prepare
proposed schedule for preparation (.8); meet with
M. Elias regarding Supreme Court argument
presentation (.3);

    

 

Hamilton, 2/4/2016 6.60 | $655.00 4,323.00 $605.00 §3,993.00] Review briefing on emergency motion to stay (1.2);
Kevin J. review Virginia merits brief (2.5); exchange related
email (.9); compile briefing for moot court (1.2);
exchange related email (.8);

 

Khanna, 2/4/2016 2.30 | $525.00 1,207.50 $435.00 $1,000.50|Telephone conference with M. Elias and E. Frost
Abha regarding oral argument preparation (0.5);
telephone conference with E. Frost regarding moot
scheduling (0.1); email and confer with K. Hamilton
regarding providing data documents to SG (0.2);
review amicus briefs (1.5);

 

Louijeune, 2/4/2016 3.70 | $320.00 1,184.00 $320.00 $1,184.00]Read Appellant's standing argument in brief (0.5);
Ruthzee Review oral argument transcripts in Arizona and
DOMA cases (0.3); Attend initial meeting re: oral
argument (0.9); Review redistricting cases in
support of oral argument preparation (2.0);

 

Frost, 2/5/2016 1.70 | $520.00 884.00 $435.00 $739.50] Revise plan for moot oral arguments (.4); email to
Elisabeth C. G. Hebert regarding scheduling moot (.1);
telephone calls regarding logistics regarding oral
argument (.1); telephone call to E. Prelogar
regarding Supreme Court oral argument (left
voicemail) (.1); emails with J. Medile regarding
preparation for ora! argument (.4); telephone call
with E. Prelogar regarding preparing for Supreme
Court oral argument (.2); emails with M. Elias
regarding moot oral arguments (.2); telephone call
with G. Hebert regarding moot court arguments
(.2);

 

 

 

Hamilton, 2/5/2016 2.30 | $655.00 1,506.50 $605.00 $1,391.50/Review merits briefing (1.5); compile materials and

Kevin J. conference regarding moot courts (.8);

Khanna, 2/5/2016 0.60 | $525.00 315.00 $435.00 $261.00|Review amicus briefs (0.4); confer with E. Frost

Abha regarding same and oral argument preparation
(0.2);

Louijeune, 2/5/2016 6.00 | $320.00 1,920.00 $320.00 $1,920.00] Read opinions (1.5); Research case law and law

Ruthzee review articles re: trajectory of court's racial

gerrymandering jurisprudence (4.5);

 

Louijeune, 2/6/2016 6.50 | $320.00 2,080.00 $320.00 $2,080.00] Research to analyze approach to race as
Ruthzee predominant factor (1.7); write memo on research
(4.8);

 

 

 

 

 

 

 

 

 

 

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Prepare for and conference with M. Elias regarding

 

 

 

 

 

 

 

 

 

 

 

 

Kevin J. preparation for moot courts (.9); review related
materials (.3);

Elias, Marc E.| 2/8/2016 0.20 | $765.00 153.00 $605.00 $121.00] Email correspondence with K, Hamilton, E. Frost, B.
Stafford, R. Louijeune, A. Khanna regarding the
State's standing position;

Elias, Marc E.| 2/8/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email with E. Frost regarding moots;

Frost, 2/8/2016 0.50 | $520.00 260.00 $435.00 $217.50]Emails with M. Elias, K. Hamilton, A. Khanna, B.

Elisabeth C. Stafford and R. Louijeune regarding Forbes decision
not to run and effect on standing (.3); emails with
Georgetown moot coordinator regarding logistics
and attendees for moot (.1); emails with G. Hebert
regarding moot arguments (.1);

Hamilton, 2/8/2016 1.20 | $655.00 786.00 $605.00 $726.00} Follow up on coordinating material for Supreme

Kevin J. Court argument (.8); exchange related email (.4);

Khanna, 2/8/2016 0.50 | $525.00 262.50 $435.00 $217.50|Review news article regarding Forbes

Abha announcement (0.1); email with legal team
regarding affect of same on standing (0.2); review
Supreme Court rules regarding supplemental
submissions (0.2);

Louijeune, 2/8/2016 4.60 | $320.00 1,472.00 $320.00 $1,472.00|Write memo on racial gerrymandering claims (3.4);

Ruthzee edit memo on racial gerrymandering claims (1.2);

Khanna, 2/9/2016 1.90 | $525.00 997.50 $435.00 $826.50)Review amicus briefs and draft summary outline of

Abha same in preparation for oral argument (1.9);

Frost, 3/1/2016 0.30 | $520.00 156.00 $435.00 $130.50] Prepare for oral argument {.3);

Elisabeth C.

Hamilton, 3/1/2016 1.00 | $655.00 655,00 $605.00 $605.00] Exchange email with other parties regarding oral

Kevin J. argument (.3); exchange email with L. Frost
regarding moot court schedule {.7);

Khanna, 3/1/2016 2.90 | $525.00 1,522.50 $435.00 $1,261.50] Review amicus briefs (1.0); draft and revise

Abha summary of amicus briefs for oral argument
preparation (1.3); draft cover letter to M. Elias
regarding same (.2); review Solicitor General brief
in preparation for oral argument (.4);

Elias, Marc E.| 3/10/2016 1.00 | $765.00 765.00 $605.00 $605.00|Teleconference with E. Frost, A. Khanna, R.

 

 

 

 

 

 

 

Louijeune to prep for argument;

 

 

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Frost, 3/10/2016 2,50} $520.00 $435.00 $1,087.50] Prepare for moot courts (1.3); meet with M. Elias,

Elisabeth C. A. Khanna and R. Louijeune regarding preparation
for oral argument (1.2);

Hamilton, 3/10/2016 4.50 | $655.00 2,947.50 $605.00 $2,722.50]Review and organize materials for oral argument

Kevin J. preparation (3.2); review schedule and confirm
with A. Khanna and L. Frost (.9); review and
respond to related email (.4);

Khanna, 3/10/2016 4.50 | $525.00 2,362.50 $435.00 $1,957.50] Participate in weekly conference call with M. Elias,

Abha E. Frost, and R. Louijeune (1.1); research and
prepare memorandum on "functional analysis"
(2.9); review briefs and draft questions in
preparation for first moot (0.5);

Frost, 3/11/2016 2.20 | $520.00 1,144.00 $435.00 $957.00/Research in preparation for moot courts and confer

Elisabeth C. with R. Louijeune regarding the same (1.9); email
to M. Elias regarding research in preparation for
moot courts (.3);

Hamilton, 3/11/2016 3.50] $655.00 2,292.50 $605.00 $2,117.50]Compile materials for argument preparation and

Kevin J. ship to D.C. (2.9); review amicus briefing by Texas
and Alabama (.8);

Khanna, 3/11/2016 5.20] $525.00 2,730.00 $435.00 $2,262.00] Draft and revise memo on functional analysis (1.1);

Abha review pleadings and relevant transcripts and draft
sample questions in preparation for oral argument
moot (4.1);

Louijeune, 3/11/2016 4.60 | $320.00 1,472.00 $320.00 $1,472,00|Research the use of how the court and parties have

Ruthzee discussed the race as a predominant factor test
(3.6); write e-mail summarizing findings (1.0);

Elias, Marc E.| 3/12/2016 8.00 | $765.00 6,120.00 $605.00 $4,840.00) Prepare fpr Wittman v. Personhuballah Supreme
Court of the United States argument;

Elias, Marc E.| 3/12/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with K. Hamilton, A. Khanna,
E. Frost, J. Devaney, R. Louijeune regarding our July
22, 2015 brief;

Elias, Marc E.| 3/12/2016 0.20 | $765.00 153.00 $605.00 $121.00] Draft questions (.1), email correspondence with
oral argument team (.1;

Hamilton, 3/12/2016 0.90 | $655.00 589.50 $605.00 $544.50] Review and respond to email from M. Elias

Kevin J. regarding factual record (.6); exchange email with
A. Khanna regarding same (.3);

Khanna, 3/12/2016 4.10 | $525.00 2,152.50 $435.00 $1,783.50] Research and draft detailed responses to questions

Abha posed by M. Elias in preparation for oral argument
moot;

Louijeune, 3/12/2016 3.00 | $320.00 960.00 $320.00 $960.00] Prepare for first moot by re-reading filings in case

Ruthzee (3.0);

 

 

 

 

 

 

 

 

 

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3/13/2016 0.10 $765.00 76.50 $605.00 $60.50] Emai correspondence with oral arguments team

    

       

Elias, Marc E.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

regarding standing hypos;

Elias, Marc E.| 3/13/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with oral arguments team
regarding Alabama;

Elias, Marc E.| 3/13/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with E. Frost regarding
Supreme Court of the United States argument
outline;

Elias, Marc E.| 3/13/2016 0.20 | $765.00 153.00 $605.00 $121.00] Email correspondence with A. Khanna, R.
Louijeune, E. Frost, K. Hamilton, J. Devaney
regarding questions based on briefs;

Elias, Marc E.| 3/13/2016 5.00 | $765.00 3,825.00 $605.00 $3,025.00]Prepare for Wittman v. Personhuballah Supreme
Court of the United States argument;

Elias, Marc E.| 3/13/2016 3.00 | $765.00 2,295.00 $605.00 $1,815.00]Initial moot court teleconference with E. Frost, A.
Khanna, B. Spiva, L. Bull:

Elias, Marc E.| 3/13/2016 2.40 | $765.00 1,836.00 $605.00 $1,452.00|Review cases and briefs in advance of argument;

Frost, 3/13/2016 3.60 | $520.00 1,872.00 $435.00 $1,566.00] Emails with M. Elias regarding preparation for oral

Elisabeth C. argument (.2); telephonic moot argument and
discussion with litigation team about oral argument
(3.2); emails with litigation team regarding oral
argument {.2);

Hamilton, 3/13/2016 6.50 | $655.00 4,257.50 $605.00 $3,932.50|Review merits briefing in anticipation of argument

Kevin J. (5.5); review and respond to email from M. Elias
and A. Khanna regarding issues for argument (1.0);

Khanna, 3/13/2016 3.50 | $525.00 1,837.50 $435.00 $1,522.50|Participate in telephone moot and discussion in

Abha preparation for oral argument (3.2); research and
draft responses to follow-up questions sent by M.
Elias (0.3);

 

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Louijeune, | 3/13/2016 13.00| $320.00 | 4,160.00 $320.00] $4,160.00|Re-read briefs (1.0); Prepare for moot by re-
Ruthzee reading through relevant memos (1.5); Attend the

moot (3.2); Write brief memo on question of
Congressional standing (2.5); Research prudential
standing and zone of interest (1.0); Write e-mail re:
prudential! standing and zone of interest (0.8);
Review docket for Court's decisions on intervening
parties (0.3); Write E-mail re: Court's decisions on
intervening parties (0.2); Review Virginia and
Intervenors' Answers, MSJ, and Replies for
acknowledgment that compliance with Section 5 of
VRA was main concern (1.8); Write e-mail re: early
instances of former defendants and Intervenors
stating that compliance with VRA and non-
retrogression was main concern (0.7);

 

 

Elias, Marc E.| 3/14/2016 8.00 | $765.00 6,120.00 $605.00 $4,840.00] Review materials in preparation for argument;
Frost, 3/14/2016 7.90 | $520.00 4,108.00 $435.00 $3,436.50] Manage logistics for moot arguments and oral
Elisabeth C. argument (.7); draft outline for oral argument (7.1);

emails with M. Elias, A. Khanna, R. Louijeune and K.
Hamilton regarding oral argument preparation (.1);

 

Hamilton, 3/14/2016 9.50 | $655.00 6,222.50 $605.00 $5,747.50|Review merits briefing (5.5); outline potential
Kevin J. arguments and weak spots (1.5); exchange email
with M. Elias and legal team regarding structure
and content of argument (1.5);

 

Khanna, 3/14/2016 5.90} $525.00 3,097.50 $435.00 $2,566.50|Research and draft summary of evidentiary support
Abha for M. Elias in preparation for oral argument (3.3);
confer with E. Frost regarding same (0.2); email
with M. Elias in response to oral argument prep
questions (0.3); confer with M. Elias regarding
same (0.2); research and draft memo on Cromartie
in preparation for oral argument (1.6); find, review,
and email with legal team regarding Alabama
redistricting criteria (0.3);

 

Louijeune, 3/14/2016 1,00 | $320.00 320.00 $320.00 $320.00] Research dates of Court's opinions (.6); Correct
Ruthzee citation in prudential standing e-mail (.2); Read e-
mail exchanges (.2);

 

 

Louijeune, 3/14/2016 0.20 | $320.00 64,00 $320.00 $64.00|Respond to questions re: Court's decision dates
Ruthzee (0.2);

Spiva, Bruce | 3/14/2016 1.00 | $655.00 655.00 $605.00 $605.00]Prepare for moot court;

V.

 

 

 

 

 

 

 

 

 

 

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Spiva, Bruce | 3/14/2016 ; | $655.00 , : $605.00 $4. Review email memos by R. Louijeune and other
Vv. team members and respond as appropriate;

 

 

Frost, 3/15/2016 6.40 | $520.00 3,328.00 $435.00 $2,784.00] Draft oral argument outline (5.9); telephone call
Elisabeth C, with R. Louijeune regarding preparation for oral
argument (.3); emails with M. Elias regarding
preparation for oral argument (.1); emails to A.
Khanna regarding oral argument preparation (.1);

 

Hamilton, 3/15/2016 7.90 | $655.00 5,174.50 $605.00 $4,779.50| Review merits briefing and record below (6.9);
Kevin J. conference with litigation team regarding
preparation for argument (1.0);

 

Khanna, 3/15/2016 8.00 | $525.00 4,200.00 $435.00 $3,480.00] Review Texas Section 5 opinions regarding "ability
Abha to elect" in retrogression context (1.5); review
Special Master report to determine type of
functional analysis employed (1.1); email with legal
team regarding same (0.5); review briefs and draft
oral argument questions in preparation for moots
(1.4); travel from Seattle to DC, not including time
in-flight working on items set out above (3.5);

 

 

Louijeune, | 3/15/2016 5.90 | $320.00 1,888.00 $320.00 $1,888.00|Attend moot out of the office (4.0); research

Ruthzee outstanding questions re: standing and merits of
case (1.9);

Elias, Marc E.} 3/16/2016 0.10 | $765.00 76.50 $605.00 $60.50] Email correspondence with E. Frost regarding

appellants' formulation as to mootness point;

 

 

 

 

 

Elias, Marc E.| 3/16/2016 2.00 | $765.00 1,530.00 $605.00 $1,210.00|Georgetown moot court;

Elias, Marc E,| 3/16/2016 4.00 | $765.00 3,060.00 $605.00 $2,420.00] Prepare for Wittman oral argument

Elias, Marc E.| 3/16/2016 2.50 | $765.00 1,912.50 $605.00 $1,512.50|Prepare for Wittman oral argument;

Elias, Marc E.| 3/16/2016 0.10 | $765.00 76.50 $605.00 $60.50]Email correspondence with A. Khanna. E, Frost, K.
Hamilton, R. Louijeune regarding special master
analysis;

Elias, Marc E.] 3/16/2016 2.00 | $765.00 1,530.00 $605.00 $1,210.00] Prepare for oral argument with K. Hamilton;

 

 

 

 

 

 

 

 

 

 

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Frost, 3/16/2016 11.40 | $520.00 5,928.00 $435.00 $4,959.00] Emails with M. Elias and A. Khanna regarding
Elisabeth C. argument prep (.2); emails with L. Bull re argument
prep (.2); revise argument outline (3.4); attend and
participate in moot argument (2.5); participate in
team meetings regarding oral argument
preparation (5.0); telephone call to Supreme Court
clerk regarding logistics (.1);

   

 

 

Hamilton, 3/16/2016 10.50] $655.00 6,877.50 $605.00 $6,352.50/Conference with M. Elias and litigation team to
Kevin J. prepare for oral argument;

Khanna, 3/16/2016 11.50] $525.00 6,037.50 $435.00 $5,002.50|Travel to and from and attend Georgetown moot
Abha (3.5); debrief regarding same and meet with legal

team to prep M. Elias for oral argument (5.5);
research, review, and revise master outline (2.5);

 

 

 

 

Louijeune, | 3/16/2016 10.80 | $320.00 3,456.00 $320.00 $3,456.00|Attend out-of-office moots; offer feedback;

Ruthzee conduct research;

Elias, Marc E.| 3/17/2016 2.00 | $765.00 1,530.00 $605.00 $1,210.00|SG moot court;

Elias, Marc E.| 3/17/2016 0.10 | $765.00 76.50 $605.00 $60.50|Email correspondence with trial team regarding
Department of Justice pre-clearance of districts
below 50% BVAP;

Elias, Mare E.| 3/17/2016 0.10 | $765.00 76.50 $605.00 $60.50|Email correspondence with E. Frost regarding

federalism point for argument;

 

 

 

 

 

Elias, Marc E.| 3/17/2016 5.00 | $765.00 3,825.00 $605.00 $3,025.00] Prepare for oral argument;

Elias, Marc E.| 3/17/2016 1.50 | $765.00 1,147.50 $605.00 $907.50|Prepare for oral argument;

Elias, Marc E.| 3/17/2016 2.00 | $765.00 1,530.00 $605.00 $1,210.00] Prepare for oral argument;

Elias, Marc E.| 3/17/2016 2.00 | $765.00 1,530.00 $605.00 $1,210.00}Jenner civil rights groups moot court;
Frost, 3/17/2016 8.20 | $520.00 4,264.00 $435.00 $3,567.00] Revise argument outline (2.0); attend and
Elisabeth C. participate in moot arguments (6.2);

 

 

 

 

 

 

 

 

 

 

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Hamilton, 3/17/2016 $655.00 6,877.50 $605.00 56, Conference with M. Elias and litigation team to

Kevin J. prepare for oral argument;

Khanna, 3/17/2016 9.50 | $525.00 4,987.50 $435.00 $4,132.50|Attend and participate in moots, debriefing in

Abha preparation for oral argument moot; draft and
research memos and outlines for M. Elias in
preparation for oral argument;

Louijeune, 3/17/2016 8.00 | $320.00 2,560.00 $320.00 $2,560.00] Attend and participate in two moot arguments;

Ruthzee

Stafford, 3/17/2016 0.10 | $495.00 49.50 $405.00 $40.50] Exchange correspondence with A. Khanna and K.

William B. Hamilton regarding oral argument;

Elias, Marc E.| 3/18/2016 11,00] $765.00 8,415.00 $605.00 $6,655.00| Prepare for oral argument;

Elias, Marc E.| 3/18/2016 2,00 | $765.00 1,530.00 $605.00 $1,210.00|Perkins Moot court;

Frost, 3/18/2016 8.30 | $520.00 4,316.00 $435.00 $3,610.50| Meet with M. Elias regarding oral argument

Elisabeth C. preparation (.3); prepare for oral argument,
including participating in moot argument and team
meetings related to argument preparation (6.2);
revise oral argument outlines (short and long)
(1.8);

Hamilton, 3/18/2016 10.90} $655.00 7,139.50 $605.00 $6,594.50|Conference with M. Elias and litigation team to

Kevin J. prepare for oral argument;

Khanna, 3/18/2016 11.10] $525.00 5,827.50 $435.00 $4,828.50|Participate in Perkins Coie moot; debrief after

Abha same; research , discuss, and prepare arguments in
preparation for oral argument;

Louijeune, 3/18/2016 8.00 | $320.00 2,560.00 $320.00 $2,560.00|Participate in PLG moot; Research questions

Ruthzee regarding merits of the case and standing; ask and
answer hypotheticals; assist in drafting short
outline;

Spiva, Bruce | 3/18/2016 1.00 | $655.00 655.00 $605.00 $605.00|Meet with M. Elias regarding preparation for moot

Vv. Court;

Elias, Marc E.| 3/19/2016 11.00} $765.00 8,415.00 $605.00 $6,655.00] Prepare for oral argument;

Frost, 3/19/2016 9.50 | $520.00 4,940.00 $435.00 $4,132.50] Oral argument preparation;

Elisabeth C.

 

 

 

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Appendix A

  

   

 

 

   

Hamilton, 3/19/2016 9.50 $655.00 6,222.50 $605.00 $5,747.50|Conference with litigation team in preparation for
Kevin J. argument;

            

 

Khanna, 3/19/2016 8.90 | $525.00 4,672.50 $435.00 $3,871.50|Participate in mooting, researching, and discussion
Abha in preparation for oral argument (8.0); revise list of
record cites as part of same (0.5); research case
Jaw on race as proxy and incorporate same in
outline (0.4);

Louijeune, 3/19/2016 11.00 | $320.00 3,520.00 $320.00 $3,520.00] Participate in four moots (8.0); answer research
Ruthzee questions (2.0); discuss the case on the merits and
on standing (1.0);

 

 

 

 

Spiva, Bruce | 3/19/2016 4.00 | $655.00 2,620.00 5605.00 $2,420.00] Prepare for and participate in moot courts to

Vv. prepare M. Elias for argument;

Frost, 3/2/2016 0.20 | $520.00 104.00 $435.00 $87.00|Prepare for oral argument (.2);

Elisabeth C.

Hamilton, 3/2/2016 1.00 | $655.00 655.00 $605.00 $605.00|Coordination with Solicitor General’s office
Kevin J. regarding moot (.6); exchange email with L. Frost

regarding same (.4);

 

Khanna, 3/2/2016 4.10 | $525.00 2,152.50 $435.00 $1,783.50] Review SG brief and draft potential oral argument
Abha questions (1.0); review Appellants’ reply brief (1.4);
draft potential oral argument questions regarding
same (0.2); research draft email response to issues
raised in same (1.5);

 

 

 

 

 

Elias, Marc E.| 3/20/2016 13.00] $765.00 9,945.00 $605.00 $7,865.00] Prepare for oral argument;

Frost, 3/20/2016 0.20 | $520.00 104.00 $435.00 $87.00]Emails with M. Elias regarding argument

Elisabeth C. preparation;

Hamilton, 3/20/2016 9.00 | $655.00 5,895.00 $605.00 $5,445.00] Work with litigation team to prepare for oral
Kevin J. argument in Supreme Court;

Khanna, 3/20/2016 7.50 | $525.00 3,937.50 $435.00 $3,262.50|Research and discuss issues with M. Elias in

Abha preparation for oral argument;

Louijeune, 3/20/2016 0.80 | $320.00 256.00 $320.00 $256.00] Answer last research question comparing standing
Ruthzee in malapportionment cases to standing in

redistricting cases;

 

Elias, Marc E.| 3/21/2016 5.00 | $765.00 3,825.00 $605.00 $3,025.00] Prepare and argue at the Supreme Court of the
United States;

 

 

 

 

 

 

 

 

 

 

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Frost, 3/21/2016 4.00 | $520.00 2,080.00 $435.00 $1,740.00| Prepare for and attend Supreme Court argument;

Elisabeth C.

Hamilton, 3/21/2016 7.10 | $655.00 4,650.50 $605.00 $4,295,50|Prepare for and attend argument in U.S. Supreme

Kevin J. Court (6.0); review and respond to related email

. (1.1);

Khanna, 3/21/2016 6.70 | $525.00 3,517.50 $435.00 $2,914,50}Prepare for, travel to, and attend SCOTUS oral

Abha argument (4.0); debrief and discuss with legal team
(1.5); review transcript and email with legal team
regarding same (1.2);

Louijeune, 3/21/2016 3.50 | $320.00 1,120.00 $320.00 $1,120.00]Attend SCOTUS oral argument;

Ruthzee

Hamilton, 3/22/2016 2.20 | $655.00 1,441.00 $605.00 $1,331.00] Follow up on issues from argument in U.S.

Kevin J. Supreme Court (1.2); exchange related emails (1.0);

Khanna, 3/22/2016 5.50] $525.00 2,887.50 $435.00 $2,392.50/Review news articles on SCOTUS arguments and R.

Abha Forbes decision to run in CD 4 if new map reversed
(0.5); confer with legal team regarding same (0.5);
travel from DC to Seattle (not including time in-
flight spent on items above (4.5);

Hamilton, 3/23/2016 1.20 | $655.00 786.00 $605.00 $726.00|Conference with A. Khanna regarding standing

Kevin J. issues (.3); review and respond to follow up emails
from oral argument (.9);

Khanna, 3/23/2016 0.80 | $525.00 420.00 $435.00 $348.00] Review news commentaries regarding standing

Abha (0.5); confer with K. Hamilton regarding same (0.3);

Frost, 3/25/2016 0.30 | $520.00 156.00 $435.00 $130.50} Emails with litigation team regarding Appellants’

Elisabeth C. letter correcting record regarding standing (1);
telephone call with A, Khanna regarding
Appellants’ letter correcting record regarding
standing (.2);

Hamilton, 3/25/2016 0.50 | $655.00 327.50 $605.00 $302.50|Review and respond to email regarding argument

Kevin J. and follow up;

Khanna, 3/25/2016 0.70 | $525.00 367.50 $435.00 $304.50} Review letter from M. Carvin to clerk's office (0.2);

Abha email and confer with legal team regarding same
(0.4); review docket when same is publicly posted
(0.1);

Hamilton, 3/26/2016 0.50 | $655.00 327.50 $605.00 $302.50]Review letter to Supreme Court from opposing

Kevin J. counsel and exchange related email;

Khanna, 3/26/2016 0.20 | $525.00 105.00 $435.00 $87.00|Email with legal team regarding potential response

Abha to Appellants’ letter (0.1); research Supreme Court
rules regarding supplementary briefs in light of
same (0.1);

 

 

 

 

 

 

 

 

 

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Elias, Marc E.| 3/3/2016 $765.00 765.00 $605.00 $605.00|Wittman prep teleconference with R. Louijeune, A.
Khanna, E. Frost in preparation for Supreme Court
of the United States argument;

Frost, 3/3/2016 0.70 | $520.00 364.00 $435.00 $304.50|Telephone call with M. Elias, A. Khanna and R.

Elisabeth C. Louijeune regarding preparation for oral argument
(.7);

Khanna, 3/3/2016 2.70 | $525.00 1,417.50 $435.00 $1,174.50] Review and revise email summary of reply brief

Abha (0.6); telephone conference with M. Elias et al. in
preparation for oral argument (0.6); review
pleadings in preparation for memo on material
misrepresentations (1.5);

Louijeune, 3/3/2016 0.80 | $320.00 256.00 $320.00 $256.00] Meet weekly regarding upcoming Supreme Court

Ruthzee case;

Frost, 3/4/2016 0.10 | $520.00 52.00 $435.00 $43.50] Emails with Solicitor General's office regarding

Elisabeth C. moot arguments (.1);

Khanna, 3/4/2016 0.20 | $525.00 105.00 $435.00 $87.00] Draft email litigation update to named plaintiffs (

Abha 0.1); email with E. Frost and A. Branch regarding
same (0.1);

Elias, Marc E.| 3/7/2016 0.50 | $765.00 382.50 $605.00 $302.50|Prepare for Supreme Court of the United States
argument;

Frost, 3/7/2016 0.30 | $520.00 156.00 $435.00 $130.50|Prepare for Supreme Court argument (.3);

Elisabeth C.

Frost, 3/8/2016 1.40 | $520.00 728.00 $435.00 $609.00]Review briefs in preparation for oral argument

Elisabeth C. moots and prepare questions for moots;

Hamilton, 3/8/2016 1.30} $655.00 851.50 $605.00 $786,50|Review merits briefing;

Kevin J.

Elias, Marc E.} 3/9/2016 1.50 | $765.00 1,147.50 $605.00 $907.50|Teleconference with R. Pildes regarding Wittman
argument (.8); review materials regarding Wittman
argument (.7);

Frost, 3/9/2016 0.50 | $520.00 260.00 $435.00 $217.50|Preparation for moot courts (.1); meet with M.

Elisabeth C. Elias regarding preparation for oral argument (.4);

Hamilton, 3/9/2016 0.90 | $655.00 589.50 $605.00 $544.50] Prepare for moot and outline difficult issues;

Kevin J.

 

 

 

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4/21/2016 0.50| $655.00 | 327.50 $605.00 $302.50

 

Hamilton, Review M. Carvin motion to delay filing of

Kevin J. jurisdictional statement;

Khanna, 4/21/2016 0.20 | $525.00 105.00 $435.00 $87.00|Review Appellants’ application for postponement
Abha of Jurisdictional Statement (.1); email with legal

team regarding same (.1);

 

Elias, Marc E.| 5/23/2016 2.00 | $765.00 1,530.00 $605.00 $1,210.00] Review SCOTUS opinion (1.2); telephone
conference and email regarding same (.8;

 

Frost, 5/23/2016 0.50] $520.00 260.00 $435.00 $217.50|Review Supreme Court opinion (.3); emails with M.
Elisabeth C. Elias, K. Hamilton, A. Khanna, B. Spiva, B. Stafford
and J. Devaney regarding litigation strategy (.2);

 

 

Gonski, 5/23/2016 1.70 | $315.00 535.50 $315.00 $535.50|Conduct research regarding attorneys’ fees motion
Sarah R. procedures and jurisdiction;

Hamilton, 5/23/2016 2.90 | $655.00 1,899.50 $605.00 $1,754.50] Review Supreme Court decision (1.2); review and
Kevin J. respond to related email relating to decision (.8);

draft and circulate “next steps” email regarding fee
application and related issues (.9);

 

Khanna, 5/23/2016 1.40 | $525.00 735.00 $435.00 $609.00) Review Supreme Court order (0.5); email with legal
Abha team regarding same and next steps regarding
appeal of remedial order and attorneys’ fees (0.4);
research attorneys’ fees logistics and confer and
email with B. Stafford and S. Gonski regarding
same (0.5);

 

 

 

 

 

 

Stafford, 5/23/2016 0.40 | $495.00 198.00 $405.00 $162.00|Conference with A. Khanna regarding jurisdictional
William B. question regarding fee application;

Hamilton, 5/24/2016 0.60 | $655.00 393.00 $605.00 $363.00] Follow up on application for attorneys’ fees and
Kevin J. next steps;

Hamilton, 5/26/2016 0.70 | $655.00 458.50 $605.00 $423.50)Follow up on fee application and outreach to
Kevin J. Virginia regarding fee application;

Khanna, 5/26/2016 0.10 | $525.00 52.50 $435.00 $43.50]Email with legal team regarding timing and logistics
Abha of fee petition (0.1);

Khanna, 5/31/2016 0.20 | $525.00 105.00 $435.00 $87.00]Email and confer with B. Stafford regarding fee
Abha estimate;

Stafford, 5/31/2016 0.80 | $495.00 396.00 $405.00 $324.00|Prepare analysis and correspondence to K,
William B. Hamilton regarding amount of outstanding fees

and costs for purposes of potential negotiated
resolution of fee petition;

 

 

 

 

 

 

 

 

 

 

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Stafford, | 7/13/2015| «4.70 | _ $495.00 2,326.50 $405.00] $1,903.50|Finalize Reply in Support of Fee Motion;

William B.

Elias, Marc E.| 7/14/2015 0.60 | $735.00 441.00 $575.00 $345.00|Review motion for stay;

Elias, Marc E.| 7/14/2015 0.40 | $735.00 294.00 $575.00 $230.00] Email and telephone conference regarding motion
for stay

Hamilton, 7/14/2015 2.80 | $620.00 1,736.00 $575.00 $1,610.00] Review jurisdictional statement and conference

Kevin J. with B. Stafford regarding same (2.5); review letter
to court requesting delay (.3);

Stafford, 7/14/2015 6.60 | $495.00 3,267.00 $405.00 $2,673.00] Research and draft opposition to Notice of Special

William B. Election (5.5); research and draft motion to dismiss
or affirm (1.1);

Hamilton, 7/15/2015 2.70 | $620.00 1,674.00 $575.00 $1,552.50] Review jurisdictional statement and conference

Kevin J. with B. Stafford regarding responsive brief (1.2);
research regarding response to jurisdictional
statement (1.3); exchange related email with team
(.2);

Stafford, 7/15/2015 4.90 | $495.00 2,425.50 $405.00 $1,984.50|Research and draft motion to affirm or dismiss in

William B. Supreme Court;

Stafford, 7/16/2015 0.70 | $495.00 346.50 $405.00 $283.50|Revise motion to affirm or dismiss in Supreme

William B. Court;

Stafford, 7/18/2015 2.70 | $495.00 1,336.50 $405.00 $1,093.50]Research and draft motion to affirm or dismiss in

William B. Supreme Court;

Elias, Marc E.| 7/19/2015 1.00 | $735.00 735.00 $575.00 $575.00/Review supreme court brief;

Hamilton, 7/20/2015 1.50 | $620.00 930.00 $575.00 $862.50|Review and revise motion to affirm and response

Kevin J. to jurisdictional statement;

Khanna, 7/20/2015 2.20 | $500.00 1,100.00 $410.00 $902.00|Review and revise Supreme Court brief;

Abha

Stafford, 7/20/2015 3.20} $495.00 1,584.00 $405.00 $1,296.00] Revise motion to affirm or dismiss in Supreme

William B. Court;

 

 

 

 

 

 

 

 

 

 

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Hamilton,

   

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ultimate draft of brief (.2); review A.

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7/21/2015 Review pen

Kevin J. Khanna comments on the same (.2); conference
with B. Stafford regarding same (.1);

Stafford, 7/21/2015 2.30 | $495.00 1,138.50 $405.00 $931.50]/Revise Motion to Dismiss;

William B.

Stafford, 7/22/2015 2.70 | $495.00 1,336.50 $405.00 $1,093.50] Make final revisions to motion to dismiss or affirm

William B. in Supreme Court and coordinate filing of same;

Elias, Marc E.| 7/23/2015 1.00 | $735.00 735.00 $575.00 $575.00] Edit opposition brief;

Hamilton, 7/23/2015 1.30 | $620.00 806.00 $575.00 $747.50|Review and revise draft opposition to motion to

Kevin J. extend deadline for compliance with injunction
(.8); exchange related email (.5);

Stafford, 7/23/2015 0.30 | $495.00 148.50 $405.00 $121,50|Incorporate K. Hamilton and M. Elias revisions to

William B. response to motion for extension;

Khanna, 7/27/2015 0.40 | $500.00 200.00 $410.00 $164,00]Review and revise opposition to General

Abha Assembly's motion to postpone (0.4);

Stafford, 7/27/2015 1.40 | $495.00 693.00 $405.00 $567.00|Revise response to motion to extend and draft

William B. accompanying M. Elias declaration;

Stafford, 7/28/2015 0.80 | $495.00 396.00 $405.00 $324.00|Review State Defendants' motion to dismiss or

William B. affirm and exchange correspondence with K.
Hamilton and M. Elias regarding same (.5); revise
opposition to motion for extension (.3);

Hamilton, 8/10/2015 1.90 | $620.00 1,178.00 $575.00 $1,092.50|Review proposed remedial maps and related email

Kevin J. (1.7); exchange email with M. Elias regarding same
(.2);

Hamilton, 8/11/2015 0.30 | $620.00 186.00 $575.00 $172.50|Exchange email regarding special session legislative

Kevin J. remedial efforts;

Khanna, 8/13/2015 0.20 | $500.00 100.00 $410.00 $82.00|Email with legal team and J. Berkon regarding

Abha remedial mapdrawing process;

Stafford, 8/13/2015 0.40 | $495.00 198.00 $405.00 $162.00]Exchange correspondence with J. Berkon regarding

William B. guidance concerning special session and identify
documents related to same;

 

 

 

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Elias, Marc E. 8/17/2015 | ~ : $ . i $575. $575.00 Email and tel phone conference regarding
legislature inaction on map;

Hamilton, 8/17/2015 0.50 | $620.00 310,00 $575.00 $287.50|Review and respond to email regarding potential

Kevin J. court-drawn remedy map and related issues (.3);
exchange email with M. Elias regarding same (.2);

Stafford, 8/17/2015 0.20 | $495.00 99,00 $405.00 $81.00] Exchange correspondence regarding remedial

William B. phase map;

Hamilton, 8/18/2015 0.50 | $620.00 310.00 $575.00 $287.50|Review and respond to email regarding legislative

Kevin J. deadlock and motion for remedial map (.5);

Hamilton, 8/19/2015 0.30 | $620.00 186.00 $575.00 $172.50|Follow up on legislative deadlock and potential

Kevin J. remedial map;

Hamilton, 8/25/2015 1.30 | $620.00 806.00 $575.00 $747.50]Prepare for and telephone conference with M. Elias

Kevin J. regarding litigation strategy in light of legislative
deadlock (.6); research regarding court-drawn
maps (.3); conference with R. Spear and B. Stafford
regarding staffing to support motion for court-
drawn remedial map (.4);

Hamilton, 8/26/2015 0.30 | $620.00 186.00 $575.00 $172.50] Telephone conference with M. Elias regarding

Kevin J. litigation strategy for remedial phase and related
staffing;

Elias, Marc E,| 8/27/2015 1.00 | $735.00 735.00 $575.00 $575,00]Review court order (.4); email regarding same (.6);

Hamilton, 8/27/2015 2.50 | $620.00 1,550.00 $575.00 $1,437.50]Review options for remedial motion (.8);

Kevin J. conference with B. Stafford and R. Spear regarding
appropriate staffing (.4); review order from the
court (.4); conference with M. Elias and litigation
team regarding same (.9);

Hamilton, 8/28/2015 0.70 | $620.00 434.00 $575.00 $402.50|Coordinate with counsel for call with the Court

Kevin J. pursuant to court’s order (.4); notify court and
circulate confirming email (.3);

Hamilton, 8/3/2015 0.50 | $620.00 310.00 $575.00 $287.50] Review supreme court filings;

Kevin J.

Hamilton, 8/30/2015 0.30 | $620.00 186.00 $575.00 $172.50] Exchange email with M. Elias regarding potential

Kevin J. special masters for remedial phase (.3);

Khanna, 8/31/2015 0.20 | $500.00 100.00 $410.00 $82.00] Email with tegal team regarding special master

Abha candidates;

 

 

 

 

 

 

 

 

 

 

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William B. discuss court order requesting discussion of special
master;

Hamilton, 8/4/2015 1.70 | $620.00 1,054.00 $575.00 $977.50] Review state’s opposition to supplemental fee

Kevin J. petition (.5); review motion to file sur-reply
briefing (.7); review intervenors’ reply brief on fees
(.5);

Elias, Marc E.| 8/5/2015 1.00 | $735.00 735.00 $575.00 $575.00]Telephone conference and email regarding court
decision;

Hamilton, 8/5/2015 0.90 | $620.00 558.00 $575.00 $517.50] Review court order denying motion to delay

Kevin J. deadline for redistricting (.2); exchange related
email (.7);

Stafford, 8/5/2015 0.10 | $495.00 49.50 $405.00 $40.50] Review court order regarding denial of motion for

William B. extension of remedial deadline;

Hamilton, 8/6/2015 0.80 | $620.00 496.00 $575.00 $460.00| Follow up on court order on remedy;

Kevin J.

Spiva, Bruce | 8/6/2015 0.20 | $600.00 120.00 $575.00 $115.00]Correspond with team about dissent to denial of

v. extension for new map;

Hamilton, 8/7/2015 0.50 | $620.00 310.00 $575.00 $287.50] Review and respond to email regarding order on

Kevin J. deadline and related issues;

Hamilton, 8/8/2015 0.30 | $620.00 186.00 $575.00 $172.50|Review email from S. Ansolabehere (.1); review

Kevin J. invoice {.1); email to M. Elias regarding same (.1);

Hamilton, 9/1/2015 2.00 | $620.00 1,240.00 $575.00 $1,150.00|Prepare for and telephone conference with

Kevin J. opposing counsel regarding preparation for call
with the court on appointment of Special Masters
(1.2); follow up discussion regarding potential
Special Masters (.8);

Stafford, 9/1/2015 1,00] $495.00 495.00 $405.00 $405.00] Identify and prepare consolidated list of experts for

William B. proposal to court;

Stafford, 9/10/2015 5.20 | $495.00 2,574.00 $405.00 $2,106.00] Draft memorandum in support of proposed

William B. remedial plan (4.5); review order on special
masters and draft a draft email to potential special
masters in light of same (.7);

Hamilton, 9/11/2015 1.00 | $620.00 620.00 $575.00 $575.00/Exchange email regarding remedial maps (.6);

Kevin J. review draft proposed remedial maps (.4);

 

 

 

 

 

 

 

 

 

 

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Stafford, 9/11/2015 $495.00 1,089.00 $405.00 $891.00]Prepare draft correspondence from parties
William B. regarding appointment of special master (.4);
review proposed remedial map and underlying
data (.4); prepare memorandum in support of
proposed remedial plan (1.4);

 

 

 

 

 

Hamilton, 9/12/2015 0.50 | $620.00 310.00 $575.00 $287,50|Review and exchange email regarding remedial
Kevin J. maps {.3); review maps (.2);

Hamilton, 9/13/2015 0.50 | $620.00 310.00 $575.00 $287.50|Review and respond to email regarding remedial
Kevin J. maps;

Stafford, 9/13/2015 6.70 | $495.00 3,316.50 $405.00 $2,713.50|Research and draft memorandum in support of
William B. proposed remedial plan (6.5); exchange

correspondence with M. Elias and K. Hamilton
regarding same (.2);

 

 

Elias, Marc E.| 9/14/2015 0.50 | $735.00 367.50 $575.00 $287.50|Review special master issues (.3); email regarding
same (.2);

Hamilton, 9/14/2015 1.60 | $620.00 992.00 $575.00 $920.00]Review and respond to various emails regarding

Kevin J. appointment of special master (.7); research

regarding same (.9);

 

Hamilton, 9/15/2015 1.20 | $620.00 744.00 $575.00 $690.00]Review orders from the court regarding

Kevin J. appointment of special masters (.3); exchange
related email (.6); conference with litigation team
regarding same (.3);

Hamilton, 9/16/2015 3.40 | $620.00 2,108.00 $575.00 $1,955.00] Exchange email regarding remedial map and

Kevin J. related data (1.2); exchange email with B. Stafford
regarding same (.5); review draft brief in support of
remedial map (.8); exchange email and phone call
with opposing counsel regarding DLS “hosting” of
remedial plans and related issues (.9);

 

 

Hamilton, 9/17/2015 3.10 | $620.00 1,922.00 $575.00 $1,782.50] Review and revise draft brief in support of

Kevin J. proposed remedial map (1.3); exchange email
regarding supporting data and supporting Hamilton
declaration (.9); review incoming remedial maps
from non-parties and exchange related email (.9);

 

Stafford, 9/17/2015 1.30 | $495.00 643.50 $405.00 $526.50|Participate in conference cail with K. Hamilton and
William B. consulting expert regarding remedial plan (.3);
draft K. Hamilton declaration in support of
proposed remedial plan (.9); conference with K.
Hamilton and M. Elias regarding proposed remedial
plan (.1);

 

Elias, Marc E.| 9/18/2015 1.50 | $735.00 1,102.50 $575.00 $862.50] Review brief (.8); review other parties’ briefs (.7);

 

 

 

 

 

 

 

 

 

 

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Hamilton, 9/18/2015 7.30 | $620.00 4,526.00 $575.00 $4,197.50] Review incoming proposed remedial plans and
Kevin J. related briefing (2.9); finalize memorandum in
support of plaintiffs proposed remedial plans and
supporting declaration and exhibits (3.2); exchange
related email with litigation team (1.2);

          

 

Stafford, 9/18/2015 2.40 | $495.00 1,188.00 $405.00 $972,00|Review other parties' proposed remedial plans
William B. (1.9); draft portion of brief regarding posting of
plans to DLS website (.5);

 

Hamilton, 9/19/2015 1.50 | $620.00 930.00 $575.00 $862.50|Review and respond to email regarding remedial
Kevin J. maps (.8}; exchange email with B. Stafford
regarding analysis of remedial maps (.7);

 

Stafford, 9/19/2015 2.10 | $495.00 1,039.50 $405.00 $850,50]Review and revise memorandum regarding posting
William B. of plans to DLS website (.9); review and provide
comparison of intervenors' proposed remedial plan
for K, Hamilton (1.0); exchange analysis of plan
submitted by other parties with K. Hamilton (.2);

 

Hamilton, 9/2/2015 5.50 | $620.00 3,410.00 $575.00 $3,162.50] Prepare for and participate in telephone

Kevin J. conference with court regarding Special Master
appointment (1.5); follow up and report to
litigation team regarding same (1.0); conference
with consulting experts regarding possible Special
Master candidates for appointment and related
research (2.2); conference with B. Stafford
regarding same (.8);

 

Stafford, 9/2/2015 2.60 | $495.00 1,287.00 $405.00 $1,053.00] Prepare for and participate in conference call with
William B. Court regarding remedial phase of litigation (1.2);
conduct research on potential special masters
identified during Court on conference call (1.4);

 

 

Hamilton, 9/20/2015 1.20 | $620.00 744,00 $575.00 $690.00] Exchange email regarding remedial maps (1.2);
Kevin J.

Stafford, 9/20/2015 3.30 | $495.00 1,633.50 $405.00 $1,336.50] Prepare working document comparing proposed
William B. ' remedial plans and arguments and analysis of same

(1); research and draft memorandum in support of
proposed remedial plan (2.3);

 

 

 

Hamilton, 9/21/2015 0.70 | $620.00 434.00 $575.00 $402.50]Review and re-transmit data underlying proposed
Kevin J. remedial plan (.4); exchange related email (.3);
Stafford, 9/21/2015 4.30 | $495.00 2,128.50 $405.00 $1,741.50|Research and draft response to other parties’
Wiltiam B. proposed remedial plans;

Elias, Marc E.| 9/23/2015 1,00 | $735.00 735.00 $575.00 $575.00|Review and revise proposed special master order;

 

 

 

 

 

 

 

 

 

 

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Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)
Appendix A

1,550.00

   

$1,437.50

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Hamilton, $620.00 $575.00 Review court’s order on appointment of special

Kevin J. master (.4); exchange email regarding response to
court’s order on the appointment of special master
(.3); review remedial maps and related briefing
(1.1); conference with B. Stafford regarding briefing
in opposition to other remedial maps (.7);

Hamilton, 9/24/2015 1.90 | $620.00 1,178.00 $575.00 $1,092.50|Review and revise draft communication to Dr.

Kevin J. Grofman regarding appointment as special master
(.9}; call among counsel to discuss (.3); follow up
on communication and related email (.7);

Stafford, 9/24/2015 4.00 | $495.00 1,980.00 $405.00 $1,620.00] Review and revise proposed order regarding

William B. appointment of special master (.4); review court
order regarding extension of time to respond to
other parties' proposed plans (.1); research and
draft response to other parties’ proposed remedial
plans (3.5);

Hamilton, 9/25/2015 1.50 | $620.00 930.00 $575.00 $862.50|Review request for amicus filing (.3); draft and

Kevin J. transmit correspondence to Dr. McDonald and to
Common Cause lawyers regarding same (.9);
exchange related email (.3);

Hamilton, 9/26/2015 0.50 | $620.00 310.00 $575.00 $287.50|Review and respond to email regarding request for

Kevin J. consent to file amicus (.5);

Frost, 9/28/2015 0.40 | $475.00 190.00 $390.00 $156.00|Email from L. Bull regarding call from the Supreme

Elisabeth C. Court regarding supplemental briefing on standing
issue (.1); review order from Supreme Court (.1);
review email strings regarding previous research on
standing issue (.2)

Hamilton, 9/28/2015 1.90 | $620.00 1,178.00 $575.00 $1,092.50] Review and respond to email regarding

Kevin J. appointment of Special Master (.8); conference
with opposing counsel regarding use of DLS staff to
support Special Master and review related email
(1.1);

Spiva, Bruce | 9/28/2015 0.50 | $600.00 300.00 $575.00 $287.50|Correspond with E. Frost about Supreme Court's

Vv. order for briefing on standing of intervenors;

Stafford, 9/28/2015 3.30 | $495.00 1,633.50 $405.00 $1,336.50|Research and draft response to other parties'

William B. remedial plans;

Hamilton, 9/29/2015 2.00 | $620.00 1,240.00 $575.00 $1,150.00] Review and revise draft “oath of confidentiality”

Kevin J. {.9); exchange email regarding proposed order
relating to use of DLS staff to assist Special Master
(.8); conference with opposing counsel regarding
same {.3);

 

 

 

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Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)
Appendix A

   

   
    

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Stafford, 9/29/2015 3.90 | $495.00 1,930.50 $405.00 $1,579.50] Research and draft memorandum regarding other

William B. parties' proposed remedial plans (3.5); review
underlying data files provided by consulting expert
for same (.4);

Elias, Marc E.| 9/3/2015 0.50 | $735.00 367.50 $575.00 $287.50|Review court order (.2); telephone conference
regarding same (.5);

Hamilton, 9/3/2015 4.90 | $620.00 3,038.00 $575.00 $2,817.50] Review order from the court regarding schedule for

Kevin J. appointment of Special Master and exchange
related email (.9); conference with B. Stafford
regarding potential candidates to propose for
Special Master (1.3); conference with consulting
expert regarding potential nominees and related
research (2.2); conference with M. Elias regarding
same (.5);

Stafford, 9/3/2015 3.20 | $495.00 1,584.00 $405.00 $1,296.00|Research and draft memorandum regarding

William B. proposed special masters;

Hamilton, 9/30/2015 0.70 | $620.00 434.00 $575.00 $402.50] Exchange email regarding “oath of confidentiality”

Kevin J. (.3); review and respond to email regarding
communications with Special Master (.4);

Stafford, 9/30/2015 2.00 | $495.00 990.00 $405.00 $810.00] Draft response to other parties’ proposed remedial

William B. plans;

Hamilton, 9/4/2015 4.80 | $620.00 2,976.00 $575.00 52,760.00] Review and revise draft memorandum regarding

Kevin J. appointment of Special Master (2.1); conference
with B. Stafford regarding same (.9); conference
with consulting expert regarding same (.8); review
memoranda filed by Virginia and by intervenors
regarding same (.7); conference with B. Stafford
regarding same (.3);

Stafford, 9/4/2015 4.80 | $495.00 2,376.00 $405.00 $1,944.00|Research and draft memorandum regarding special

William B. master recommendations (3.9); review other
parties' submissions and provide analysis of same
(.9);

Hamilton, 9/6/2015 0.50 | $620.00 310.00 $575.00 $287.50] Prepare for and participate in telephone

Kevin J. conference with M. Elias regarding proposed
remedial maps and related issues (.3); review
related email (.2);

Hamilton, 9/7/2015 0.30 | $620.00 186.00 $575.00 $172.50|Review and respond to email regarding proposed

Kevin J. remedial maps;

Hamilton, 9/9/2015 0.90 | $620.00 558.00 $575.00 $517.50|Review court order on appointment of special

Kevin J. master (.3); exchange related email (.2);
conference with M. Elias regarding same (.3);
conference with B. Stafford regarding same (.1);

 

 

 

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Civil Action No, 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)
Appendix A

 
    

'd, | 9/9/2015 | —0.70 | $495.00 | $405.00 $283.5 with consulting expert regarding
William B. district map (.4); exchange correspondence with K.
Hamilton regarding special masters (.3);

  

 

Total 1316.50 $ 711,246.00 $ 618,201.00

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APPENDIX B
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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Wittman v. Personhuballah)
Appendix B
Date Base Amt Narrative
1 Photocopies and Printing
2 7/22/2015 |Copying S$ 1,899.20 |Wilson-Epes Printing Co., Inc. - 7/2015
3 10/13/2015 |Copying § 1,613.84 |Wilson-Epes Printing Co., Inc. - 10/2015
4 10/20/2015 |Copying S$ 1,180.77 |Wilson-Epes Printing Co., Inc. - 10/2015
5 1/11/2016 |Copying S 55.90 |Photocopies and printing
6 1/11/2016 |Copying S 7.50 |Photocopies and printing
7 1/11/2016 |Copying S 113.70 |Photocopies and printing
8 1/12/2016 |Copying S 18.20 |Photocopies and printing
9 1/12/2016 |Copying S 0.30 |Photocopies and printing
10 1/15/2016 |Copying $ 0.70 |Photocopies and printing
11 2/5/2016 |Copying S 4.00 |Office services/special handling - copy center
12 3/11/2016 |Copying S$ 25.20 |Photocopies and printing
13 SUBTOTAL Photocopies and Printing $ 4,919.31
14
15 Electronic Discovery Database Hosting
16 7/31/2015 |DB Hosting S 21.41 |Jul 2015, Electronic Discovery Database Hosting Usage
17 8/31/2015 |DB Hosting S 21.41 | Aug 2015, Electronic Discovery Database Hosting Usage
18 9/30/2015 |DB Hosting $ 21.41 |Sep 2015, Electronic Discovery Database Hosting Usage
19 | 10/30/2015 |DB Hosting S 21.41 |Oct 2015, Electronic Discovery Database Hosting Usage
20 11/30/2015 |DB Hosting S 21.41 |Nov 2015, Electronic Discovery Database Hosting Usage
21 12/31/2015 |DB Hosting S 21.41 |Dec 2015, Electronic Discovery Database Hosting Usage
22 1/31/2016 |DB Hosting S$ 21.41 |Jan 2016, Electronic Discovery Database Hosting Usage
23 2/29/2016 |DB Hosting S 21.41 |Feb 2016, Electronic Discovery Database Hosting Usage
24 3/31/2016 |DB Hosting S 21.41 |Mar 2016, Electronic Discovery Database Hosting Usage
25 4/30/2016 |DB Hosting $ 21.41 |Apr 2016, Electronic Discovery Database Hosting Usage
26 5/31/2016 |DB Hosting $ 21.41 |May 2016, Electronic Discovery Database Hosting Usage
27 SUBTOTAL Discovery Database Hosting $ 235.51
28
29 Shipping
30 9/19/2015 |Shipping S 11.73 |United Parcel Service - A. Diaz, Richmond VA 23219
31 9/19/2015 |Shipping S 11.99 | United Parcel Service - C. Peters, Richmond VA 23226
32 9/19/2015 |Shipping S 11.11 |United Parcel Service - C. Petersen, Richmond VA 23219
33 9/19/2015 _|Shipping S 11.11 |United Parcel Service - D. Kotler, Princeton NJ 08540
34 9/19/2015 |Shipping S$ 11.73 |United Parcel Service - L. O'Grady, Alexandria VA 22314
35 9/19/2015 |Shipping $ 11.73 |United Parcel Service - R. Payne, Richmond VA 23219
36 9/19/2015 |Shipping S 11.73 |United Parcel Service - USDC, Eastern District of Virg, Richmond VA 23219

 

 

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(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

37 1/23/2016 |Shipping Ss 12.14 |United Parcel Service - J. Day, Washington DC 20001

33 1/23/2016 |Shipping S 12.14 |United Parcel Service - S. Raphael, Richmond VA 23219

39 3/1/2016 |Shipping S 28.55 |Realcourier inc -

40 3/12/2016 |Shipping S 34.87 |United Parcel Service - M. Elias, Weston VT 05161

41 3/29/2016 |Shipping S 46.16 |FedEx - K. Hamilton, Seattle WA 98101

42 3/29/2016 |Shipping $ 70.90 |FedEx - K. Hamilton, Seattle WA 98101

43 3/30/2016 |Shipping S 0.48 |03/30/2016, Sent by: Branch Aria C.

44 4/1/2016 _|Shipping S 36.48 |Realcourier Inc -

45 8/1/2015 |Shipping S 34.50 |Realcourier Inc - 7/2015

46 SUBTOTAL Discovery Database Hosting $322.85

47

48 Travel and Meals

49 2/8/2016 |Travel - Flight S 15.00 |American Express - K. HAMILTON, DCA, 3/13/2016; Ticket#7748695699

50 2/8/2016 |Travel - Flight S 619.99 |American Express - K. HAMILTON, DCA, 3/13/2016; Ticket#7748695699

51 2/15/2016 |Travel - Flight S 52.25 |American Express - A. KHANNA, WASHINGTON DC, 3/15/2016; Ticket#7751130385

52 2/15/2016 |Travel - Flight S 583.79 | American Express - A. KHANNA, WASHINGTON DC, 3/15/2016; Ticket#7751130385

53 3/19/2016 | Travel $ 35.04 |Frost, Elisabeth C. - E. Frost, Cab expense from Saturday SCOTUS argument preparation.,
03/17/2016 - 03/21/2016

54 3/17/2016 |Travel S$ 11.20 |Frost, Elisabeth C. - E. Frost, Cab expense to Moot Court., 03/17/2016 - 03/21/2016

55 3/13/2016 |Travel S 29.92 |Hamilton, Kevin J. - K. Hamilton, Uber travel expense to prepare for and attend U.S. Supreme
Court argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

56 3/13/2016 |Travel S 20.00 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

57 3/14/2016 |Travel S 8.47 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

58 3/15/2016 |Travel S 10.47 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

59 3/15/2016 |Travel S 15.06 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

60 3/16/2016 |Travel S 10.58 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

61 3/16/2016 |Travel S 12.85 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

62 3/17/2016 |Travel S 12.29 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

63 3/17/2016 |Travel S 8.93 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

64 3/17/2016 | Travel s 9.20 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

 

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(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

65 3/17/2016 |Travel S 24.54 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

66 3/18/2016 |Travel S 11.63 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

67 3/18/2016 |Travel S 13.50 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

68 3/19/2016 |Travel $ 17.18 |Frost, Elisabeth C. - E. Frost, Cab expense to Saturday SCOTUS argument preparation.,
03/17/2016 - 03/21/2016

69 3/21/2016 |Travel S 6.02 | Frost, Elisabeth C. - E. Frost, Cab expense to SCOTUS argument., 03/17/2016 - 03/21/2016

70 3/21/2016 |Travel s 10.36 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for and attend U.S. Supreme
Court argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

71 3/21/2016 |Travel S 18.13 |Hamilton, Kevin J. - K. Hamilton, Cab travel expense to prepare for and attend U.S. Supreme
Court argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

72 3/13/2016 |Travel - Hotel S 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

73 3/14/2016 |Travel - Hotel s 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

74 3/15/2016 |Travel - Hotel S 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

75 3/16/2016 |Travel - Hotel S 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

76 3/17/2016 |Travel - Hotel S 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

77 3/18/2016 |Travel - Hotel $ 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

78 3/19/2016 |Travel - Hotel $ 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

79 3/20/2016 |Travel - Hotel $ 475.18 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

80 3/21/2016 |Travel - Hotel 5 40.00 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

81 3/13/2016 |Meals s 5.33 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

82 3/16/2016 |Meals S 7.80 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

83 3/17/2016 |Meals s 6.80 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

84 3/18/2016 |Meals S 5.80 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

85 3/18/2016 |Meals S 6.16 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

 

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Appendix B
Date Base Amt Narrative

86 3/18/2016 |Meals S 7.04 |Hamilton, Kevin J. - K. Hamilton, A. Khanna, Prepare for and attend U.S. Supreme Court
argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

87 3/18/2016 |Meals s 40.00 | Hamilton, Kevin J. - K. Hamilton, M. Elias, A. Khanna, Prepare for and attend U.S. Supreme
Court argument in Virginia redistricting matter., 03/13/2016 - 03/21/2016

88 3/21/2016 |Meals S 8.20 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

89 3/13/2016 |Meals S 7.50 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

90 3/13/2016 |Meals $ 76.64 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

91 3/14/2016 |Meals S 17.40 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

92 3/14/2016 |Meals S 8.36 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

93 3/15/2016 |Meals S$ 17.40 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

94 3/15/2016 |Meals S 53.00 | Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

95 3/15/2016 |Meals S 10.23 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

96 3/19/2016 |Meals S 18.40 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Vi ia redistricting matter., 03/13/2016 - 03/21/2016

97 3/19/2016 |Meals S 10.23 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

98 3/20/2016 |Meals S 10.00 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

99 3/20/2016 |Meals S 52.89 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

100 | 3/20/2016 |Meals S 33.60 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

101 3/20/2016 |Meals S 8.53 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

102 | 3/21/2016 |Meals S 7.37 |Hamilton, Kevin J. - K. Hamilton, Prepare for and attend U.S. Supreme Court argument in
Virginia redistricting matter., 03/13/2016 - 03/21/2016

103 SUBTOTAL Travel and Meals $ 5,816.52

104

105 Research

106 7/7/2015 |Research (docket, pleadings) $ 2.90 |A 2015-07-07 14:33:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD; NOTE:

 

 

 

 

 

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(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

107 7/7/2015 |Research (docket, pleadings) $ 2.90 |A 2015-07-07 14:33:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE139-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 139-0; NOTE:

108 | 7/12/2015 |Research (docket, pleadings) $ 2.90 |A 2015-07-12 16:53:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD; NOTE:

109 | 7/14/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-14 11:39:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 3:13-CV-00678 ALL COURTS PAGE: 1; NOTE:

110 | 7/14/2015 |Research (docket, pleadings) S 2.90 |A 2015-07-14 12:39:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD; NOTE:

111 | 7/14/2015 |Research (docket, pleadings) $ 0.40 JA 2015-07-14 12:39:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE188-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 188-0; NOTE:

112 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 17:21:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 3:13-CV-00678 ALL COURTS PAGE: 1; NOTE:

113 | 7/21/2015 |Research (docket, pleadings) S 2.40 |A 2015-07-21 18:22:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD STARTING WITH DOCUMENT:
40 ENDING WITH DOCUMENT: 174; NOTE:

114 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 18:22:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE40-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 40-0; NOTE:

115 7/21/2015 |Research (docket, pleadings) S 0.50 |A 2015-07-21 18:24:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE42-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 42-1; NOTE:

116 | 7/21/2015 |Research (docket, pleadings) S 0.30 |A 2015-07-21 18:27:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE46-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 46-0; NOTE:

117 | 7/21/2015 |Research (docket, pleadings) S 1.10 |A 2015-07-21 18:27:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE46-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 46-1; NOTE:

118 7/21/2015 |Research (docket, pleadings) S 1.40 |A 2015-07-21 18:27:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE46-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 46-2; NOTE:

119 | 7/21/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-21 18:27:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE46-3; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 46-3; NOTE:

120 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 18:27:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:

: IMAGE46-4; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 46-4; NOTE:

121 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 18:33:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:

IMAGE48-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 48-0; NOTE:

 

 

 

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

122 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 18:35:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE50-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 50-0; NOTE:

123 | 7/21/2015 |Research (docket, pleadings) S 0.20 |A 2015-07-21 18:38:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGES4-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 54-0; NOTE:

124 | 7/21/2015 |Research (docket, pleadings) $ 0.10 |A 2015-07-21 18:40:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGES6-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 56-0; NOTE:

125 | 7/21/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-21 18:44:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE106-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 106-0; NOTE:

126 | 7/21/2015 |Research (docket, pleadings) S 0.60 |A 2015-07-21 18:44:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE106-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 106-1; NOTE:

127 | 7/21/2015 |Research (docket, pleadings) $ 0.60 |A 2015-07-21 18:44:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE106-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 106-2; NOTE:

128 | 7/21/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-21 18:44:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE106-3; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 106-3; NOTE:

129 | 7/21/2015 |Research (docket, pleadings) S 2.20 |A 2015-07-21 18:46:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE107-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 107-0; NOTE:

130 7/21/2015 |Research (docket, pleadings) $ 0.10 |A 2015-07-21 18:47:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE108-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 108-0; NOTE:

131 | 7/21/2015 |Research (docket, pleadings) S 0.20 |A 2015-07-21 18:53:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE110-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 110-0; NOTE:

132 | 7/21/2015 |Research (docket, pleadings) Ss 0.50 |A 2015-07-21 18:54:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE111-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 111-0; NOTE:

133 | 7/21/2015 |Research (docket, pleadings) S 1.40 |A 2015-07-21 18:56:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE112-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 112-0; NOTE:

134 | 7/21/2015 |Research (docket, pleadings) S 0.70 |A 2015-07-21 18:57:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE112-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 112-1; NOTE:

135 7/21/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-21 18:58:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE112-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 112-2; NOTE:

 

 

 

 

 

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Case 3

Civil Action No, 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

136 7/21/2015 |Research (docket, pleadings) S 1.60 |A 2015-07-21 18:59:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE112-3; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 112-3; NOTE:

137 | 7/21/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-21 19:00:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE112-4; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 112-4; NOTE:

138 | 7/21/2015 |Research (docket, pleadings) S 1.50 |A 2015-07-21 19:01:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE112-5; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 112-5; NOTE:

139 | 7/21/2015 |Research (docket, pleadings) S 0.50 |A 2015-07-21 19:02:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE113-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 113-0; NOTE:

140 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 19:03:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE113-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 113-1; NOTE:

141 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 19:05:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE114-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 114-0; NOTE:

142 | 7/21/2015 |Research (docket, pleadings) S$ 0.30 |A 2015-07-21 19:07:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE115-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 115-0; NOTE:

143 | 7/21/2015 |Research (docket, pleadings) S 0.10 JA 2015-07-21 19:09:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE116-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 116-0; NOTE:

144 | 7/21/2015 |Research (docket, pleadings} s 0.40 |A 2015-07-21 19:09:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE117-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 117-0; NOTE:

145 | 7/21/2015 |Research (docket, pleadings) S 1.50 JA 2015-07-21 19:12:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE118-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 118-0; NOTE:

146 | 7/21/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-21 19:13:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE118-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 118-1; NOTE:

147 | 7/21/2015 |Research (docket, pleadings) S 2.20 |A 2015-07-21 19:14:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE118-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 118-2; NOTE:

148 | 7/21/2015 |Research (docket, pleadings) S 0.40 |A 2015-07-21 19:16:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE119-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 119-0; NOTE:

149 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 19:17:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE119-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 119-1; NOTE:

 

 

 

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

150 | 7/21/2015 |Research (docket, pleadings) $ 0.10 |A 2015-07-21 19:21:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE120-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 120-0; NOTE:

151 7/21/2015 |Research (docket, pleadings) $ 1.40 |A 2015-07-21 19:25:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE121-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 121-0; NOTE:

152 | 7/21/2015 |Research (docket, pleadings) S 0.40 |A 2015-07-21 19:27:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE122-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 122-0; NOTE:

153 | 7/21/2015 |Research (docket, pleadings) $ 0.20 |A 2015-07-21 19:28:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE122-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 122-1; NOTE:

154 | 7/21/2015 |Research (docket, pleadings) S 0.90 |A 2015-07-21 19:29:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE122-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 122-2; NOTE:

155 | 7/21/2015 |Research (docket, pleadings) S 0.50 |A 2015-07-21 19:30:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE122-3; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 122-3; NOTE:

156 | 7/21/2015 |Research (docket, pleadings) S 0.20 |A 2015-07-21 19:32:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE122-4; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 122-4; NOTE:

157 | 7/21/2015 |Research (docket, pleadings) $ 0.10 |A 2015-07-21 19:33:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE123-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 123-0; NOTE:

158 | 7/21/2015 |Research (docket, pleadings) S 0.60 |A 2015-07-21 19:35:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE124-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 124-0; NOTE:

159 | 7/21/2015 |Research (docket, pleadings) $ 0.70 |A 2015-07-21 19:35:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE124-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 124-1; NOTE:

160 | 7/21/2015 |Research (docket, pleadings) $ 0.40 |A 2015-07-21 19:38:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE125-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 125-0; NOTE:

161 | 7/21/2015 |Research (docket, pleadings) S 4.10 |A 2015-07-21 19:39:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE125-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 125-1; NOTE:

162 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 19:41:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE126-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 126-0; NOTE:

163 | 7/21/2015 |Research (docket, pleadings) S 1.10 |A 2015-07-21 19:43:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE127-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 127-0; NOTE:

 

 

 

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

164 | 7/21/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-21 19:44:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE128-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 128-0; NOTE:

165 | 7/21/2015 |Research (docket, pleadings) S$ 0.10 |A 2015-07-21 19:46:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE129-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 129-0; NOTE:

166 | 7/22/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-22 16:51:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 3:13-CV-678 ALL COURTS PAGE: 1; NOTE:

167 | 7/22/2015 |Research (docket, pleadings) S 1.40 |A 2015-07-22 17:52:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD STARTING WITH DOCUMENT:
130 ENDING WITH DOCUMENT: 160; NOTE:

168 | 7/22/2015 |Research (docket, pleadings) s 0.40 |A 2015-07-22 17:53:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE130-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 130-0; NOTE:

169 | 7/22/2015 |Research (docket, pleadings) S 0.30 |A 2015-07-22 17:58:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE130-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 130-1; NOTE:

170 | 7/22/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-22 18:03:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE131-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 131-0; NOTE:

171 | 7/22/2015 |Research (docket, pleadings) S 1.40 |A 2015-07-22 18:04:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD STARTING WITH DOCUMENT:
132 ENDING WITH DOCUMENT: 160; NOTE:

172 | 7/22/2015 |Research (docket, pleadings) S 0.20 JA 2015-07-22 18:04:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE132-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 132-0; NOTE:

173 | 7/22/2015 |Research (docket, pleadings) S 1.70 |A 2015-07-22 18:06:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE133-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 133-0; NOTE:

174 | 7/22/2015 |Research (docket, pleadings) $ 0.10 |A 2015-07-22 18:08:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE133-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 133-1; NOTE:

175 | 7/22/2015 |Research (docket, pleadings) S 1.40 ]A 2015-07-22 18:09:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE134-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 134-0; NOTE:

176 | 7/22/2015 |Research (docket, pleadings) S 0.90 JA 2015-07-22 18:11:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC, SEARCH:
IMAGE135-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 135-0; NOTE:

177 | 7/22/2015 |Research (docket, pleadings) S 3.00 |A 2015-07-22 18:12:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE135-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 135-1; NOTE:

 

 

 

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

178 | 7/22/2015 |Research (docket, pleadings) $s 1.90 |A 2015-07-22 18:13:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE135-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 135-2; NOTE:

179 7/22/2015 |Research (docket, pleadings) s 0.50 |A 2015-07-22 18:15:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE136-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 136-0; NOTE:

180 | 7/22/2015 |Research (docket, pleadings) S 0.30 |A 2015-07-22 18:16:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE136-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 136-1; NOTE:

181 | 7/22/2015 |Research (docket, pleadings) S 0.40 |A 2015-07-22 18:17:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE136-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 136-2; NOTE:

182 | 7/22/2015 |Research (docket, pleadings) S 0.20 |A 2015-07-22 18:18:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE136-3; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 136-3; NOTE:

183 | 7/22/2015 |Research (docket, pleadings) S 0.20 |A 2015-07-22 19:18:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE138-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 138-0; NOTE:

184 | 7/22/2015 |Research (docket, pleadings) s 0.20 |A 2015-07-22 19:20:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE140-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 140-0; NOTE:

185 | 7/22/2015 |Research (docket, pleadings) $ 3.00 ]A 2015-07-22 19:22:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE140-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 140-1; NOTE:

186 | 7/22/2015 |Research (docket, pleadings) S 0.20 |A 2015-07-22 19:24:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE141-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 141-0; NOTE:

187 7/22/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-22 19:25:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE142-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 142-0; NOTE:

188 | 7/22/2015 |Research (docket, pleadings) S$ 0.30 |A 2015-07-22 19:31:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE143-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 143-0; NOTE:

189 | 7/22/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-22 19:32:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE150-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 150-0; NOTE:

190 | 7/22/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-22 19:34:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE144-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 144-0; NOTE:

191 | 7/22/2015 |Research (docket, pleadings) S 2.10 |A 2015-07-22 19:36:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:

 

 

 

IMAGE145-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 145-0; NOTE:

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Date Base Amt Narrative

192 | 7/22/2015 |Research (docket, pleadings) $ 0.30 |A 2015-07-22 19:38:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE146-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 146-0; NOTE:

193 | 7/22/2015 |Research (docket, pleadings) $ 0.80 |A 2015-07-22 19:43:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE147-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 147-0; NOTE:

194 | 7/22/2015 |Research (docket, pleadings) S 1.50 |A 2015-07-22 19:44:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE148-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 148-0; NOTE:

195 | 7/22/2015 |Research (docket, pleadings) S 5.40 |A 2015-07-22 19:46:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
TRANSCRIPT:149-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 149-0; NOTE:

196 | 7/22/2015 |Research (docket, pleadings) $ 1.90 |A 2015-07-22 19:49:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE151-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 151-0; NOTE:

197 | 7/22/2015 |Research (docket, pleadings} s 3.00 |A 2015-07-22 19:49:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE151-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 151-1; NOTE:

198 | 7/22/2015 |Research (docket, pleadings) s 3.00 |A 2015-07-22 19:49:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE151-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 151-2; NOTE:

199 | 7/22/2015 |Research (docket, pleadings) S 1.90 |A 2015-07-22 19:49:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE151-3; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 151-3; NOTE:

200 | 7/22/2015 |Research (docket, pleadings) S 1.10 |A 2015-07-22 19:53:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE152-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 152-0; NOTE:

201 | 7/22/2015 |Research (docket, pleadings) S 1.60 |A 2015-07-22 19:56:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE153-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 153-0; NOTE:

202 | 7/23/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-23 11:56:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 3:13-CV-678 ALL COURTS PAGE: 1; NOTE:

203 | 7/23/2015 |Research (docket, pleadings) S 1.30 |A 2015-07-23 12:56:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD STARTING WITH DOCUMENT:
154 ENDING WITH DOCUMENT: 160; NOTE:

204 | 7/23/2015 |Research (docket, pleadings) $ 1.90 |A 2015-07-23 12:57:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE154-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 154-0; NOTE:

205 | 7/23/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-23 12:59:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:

 

 

 

IMAGE155-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 155-0; NOTE:

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Appendix B
Date Base Amt Narrative

206 | 7/23/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-23 13:01:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE155-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 155-1; NOTE:

207 | 7/23/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-23 13:02:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC,; SEARCH:
IMAGE155-2; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 155-2; NOTE:

208 | 7/23/2015 |Research (docket, pleadings) S 1.10 |A 2015-07-23 13:03:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE156-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 156-0; NOTE:

209 | 7/23/2015 |Research (docket, pleadings) $ 0.40 |A 2015-07-23 13:05:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE157-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 157-0; NOTE:

210 | 7/23/2015 |Research (docket, pleadings) S 1.10 |A 2015-07-23 13:06:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE157-1; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 157-1; NOTE:

211 | 7/23/2015 |Research (docket, pleadings) S 1.40 |A 2015-07-23 13:07:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE158-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 158-0; NOTE:

212 | 7/23/2015 |Research (docket, pleadings) $ 0.10 |A 2015-07-23 13:10:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE159-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 159-0; NOTE:

213 7/23/2015 |Research (docket, pleadings) S 0.10 |A 2015-07-23 13:12:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
IMAGE160-0; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD DOCUMENT 160-0; NOTE:

214 | 11/30/2015 |Research (docket, pleadings) S 3.00 |A 2015-11-30 18:13:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD; NOTE:

215 | 11/30/2015 |Research (docket, pleadings) S 3.00 JA 2015-11-30 18:14:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:14-CV-00852-REP-GBL-BMK; NOTE:

216 | 11/30/2015 |Research (docket, pleadings) $ 0.10 |A 2015-11-30 18:14:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
SEARCH; RETRIEVAL TYPE: LAST NAME: VIRGINIA STATE BOARD OF ELECTIONS; NOTE:

217 | 11/30/2015 |Research (docket, pleadings) S 3.00 |A 2015-11-30 18:15:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD; NOTE:

218 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:17:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 3:13CV678 ALL COURTS PAGE: 1; NOTE:

219 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:27:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 14-1504 ALL COURTS PAGE: 1; NOTE:

220 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:27:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 14-1504 ALL COURTS PAGE: 2; NOTE:

 

 

 

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD
(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

  

 

   

 

   

 

    

 

   

 

  

 

  

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix B
Date Base Amt Narrative

221 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:27:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 14-1504 ALL COURTS PAGE: 3; NOTE:

222 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:34:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 14-1504 ALL COURTS PAGE: 1; NOTE:

223 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:34:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 14-1504 ALL COURTS PAGE: 2; NOTE:

224 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 17:35:00, Research by: Perkins Coie (PACER Usage; COURT: OOPCL; SEARCH: ALL
COURT TYPES CASE SEARCH; RETRIEVAL TYPE: 14-1504 ALL COURTS PAGE: 3; NOTE:

225 2/5/2016 |Research (docket, pleadings) S 2.60 |A 2016-02-05 18:20:00, Research by: Perkins Coie (PACER Usage; COURT: VAEDC; SEARCH:
DOCKET REPORT; RETRIEVAL TYPE: 3:13-CV-00678-REP-LO-AD START DATE: 5/1/2015 END
DATE: 2/5/2016; NOTE:

226 2/5/2016 |Research (docket, pleadings) S 0.10 |A 2016-02-05 18:35:00, Research by: Perkins Coie (PACER Usage; COURT: O6CA; SEARCH:
CASE SUMMARY; RETRIEVAL TYPE: 14-1504; NOTE:

227 2/8/2016 |Research (docket, pleadings) S 6.20 |COURTLINK SEARCHED BY: King Jessica L.;Case Search - Federal Supreme 14-1504

228 2/8/2016 |Research (docket, pleadings) S 11.00 |COURTLINK SEARCHED BY: King Jessica L.;Name Search - Federal Supreme Untitled Search
2/8/2016 12:10:3

229 7/7/2015 |Computer Research S 36.63 |WESTLAW SEARCHED BY:Stafford William B.; TIME: 0;RESEARCH CHARGES:$36.63

230 7/11/2015 |Computer Research $ 576.83 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$576.83

231 7/12/2015 |Computer Research $ 36.63 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:S36.63

232 7/13/2015 |Computer Research S 81.77 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$81.77

233 | 7/14/2015 |Computer Research S 36.63 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$36.63

234 7/15/2015 |Computer Research S 50.69 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0; RESEARCH CHARGES:$50.69

235 7/16/2015 |Computer Research S 117.66 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$117.66

236 7/17/2015 |Computer Research S 73.26 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:S73.26

237 | 7/20/2015 |Computer Research S 109.89 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$109.89

238 | 7/22/2015 |Computer Research s 83.25 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$83.25

239 9/10/2015 |Computer Research S 146.52 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$146.52

240 9/21/2015 |Computer Research S$ 73.26 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$73.26

241 9/24/2015 |Computer Research S 73.26 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$73.26

242 9/28/2015 |Computer Research S 36.63 | WESTLAW SEARCHED BY:; TIME: 0;RESEARCH CHARGES:$36.63;

243 | 10/2/2015 |Computer Research S 230.51 |WESTLAW SEARCHED BY:;TIME: 0;RESEARCH CHARGES:$230.51;

244 10/7/2015 |Computer Research S 1,153.66 | WESTLAW SEARCHED BY:Frost Elisabeth C.; TIME: 0;RESEARCH CHARGES:$1153.66

245 | 10/14/2015 |Computer Research S 603.10 |WESTLAW SEARCHED BY: Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$603.10

246 | 10/16/2015 |Computer Research S 219.78 |WESTLAW SEARCHED BY: Frost Elisabeth C.; TIME: 0;RESEARCH CHARGES:$219.78

247 | 10/18/2015 |Computer Research S 252.71 |WESTLAW SEARCHED BY:Stafford William B.; TIME: 0;RESEARCH CHARGES:$252.71

248 | 11/16/2015 |Computer Research S 384.43 |WESTLAW SEARCHED BY:Stafford William B.; TIME: 0;RESEARCH CHARGES:5384.43

249 | 11/19/2015 |Computer Research S 87.69 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$87.69

250 | 11/20/2015 |Computer Research S 73.26 | WESTLAW SEARCHED BY:Stafford William 8.;TIME: 0;RESEARCH CHARGES:$73.26

251 | 11/20/2015 |Computer Research S 36.63 | WESTLAW SEARCHED BY:McAleer Lindsay J.;TIME: 0;RESEARCH CHARGES:$36.63

252 | 11/26/2015 |Computer Research S 146.52 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$146.52

 

 

 

 

 

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Case 3

Civil Action No. 3:13-cv-678-REP-LO-AKD

(Wittman v. Personhuballah)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Appendix 6

Date Base Amt Narrative
253 | 12/7/2015 |Computer Research $ 219.78 |WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$219.78
254 12/8/2015 |Computer Research S 175.75 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$175.75
255 12/9/2015 |Computer Research S 14.06 | WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$14.06
256 | 12/14/2015 |Computer Research S 73.26 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$73.26
257 1/13/2016 |Computer Research S 73.26 |WESTLAW SEARCHED BY:Stafford William B.;TIME: 0;RESEARCH CHARGES:$73.26
258 | 1/16/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Stafford William B.; TIME: 0;RESEARCH CHARGES:$36.63
259 1/17/2016 |Computer Research Ss 36.63 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
260 | 1/18/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
261 1/19/2016 |Computer Research S 73.26 |WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$73.26
262 1/19/2016 |Computer Research S 36.63 |WESTLAW SEARCHED BY:Salonen Sharon S.;TIME: 0;RESEARCH CHARGES:$36.63
263 | 1/19/2016 |Computer Research S 80.29 |WESTLAW SEARCHED BY:Stafford William B.; TIME: 0;RESEARCH CHARGES:$80.29
264 1/20/2016 |Computer Research S 58.46 | WESTLAW SEARCHED BY:Salonen Sharon S.;TIME: 0;RESEARCH CHARGES:$58.46
265 1/25/2016 |Computer Research S 36.63 |WESTLAW SEARCHED BY:Stafford William B.; TIME: 0;RESEARCH CHARGES:$36.63
266 1/25/2016 |Computer Research $ 36.63 |WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
267 | 1/31/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$36.63
268 2/1/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Frost Elisabeth C.; TIME: 0;RESEARCH CHARGES:$36.63
269 2/5/2016 |Computer Research S$ 439.93 | WESTLAW SEARCHED BY:King Jessica L.; TIME: 0;RESEARCH CHARGES:$439.93
270 2/8/2016 |Computer Research S 146.52 |WESTLAW SEARCHED BY:Louijeune Ruthzee;TIME: 0;RESEARCH CHARGES:$146.52
271 3/10/2016 |Computer Research S 182.41 |WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$182.41
272 3/11/2016 |Computer Research s 174.27 | WESTLAW SEARCHED BY:Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$174.27
273 3/13/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
274 | 3/15/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
275 3/15/2016 |Computer Research S 366.30 | WESTLAW SEARCHED BY:Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$366.30
276 3/16/2016 |Computer Research S 219.78 |WESTLAW SEARCHED BY:Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$219.78
277 | 3/16/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
278 3/18/2016 |Computer Research S 91.76 | WESTLAW SEARCHED BY:Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$91.76
279 | 3/18/2016 |Computer Research S 36.63 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$36.63
280 3/19/2016 |Computer Research S 36.63 |WESTLAW SEARCHED BY:Frost Elisabeth C.;TIME: 0;RESEARCH CHARGES:$36.63
281 | 3/20/2016 |Computer Research S 219.78 | WESTLAW SEARCHED BY:Khanna Abha;TIME: 0;RESEARCH CHARGES:$219.78
282 SUBTOTAL Research $ 7,944.56
283
284 Depositions and Transcripts
285 | 1/14/2016 $s 78.00 |Peppy Peterson, RPR - Transcript 12/14/15
286 SUBTOTAL Depositions and Transcripts $ 78.00
287
288 TOTAL $ 19,316.75

 

 

 

 

 

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